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               Analyses and Historical Reconstruction of Groundwater Flow,
             Contaminant Fate and Transport, and Distribution of Drinking Water
                     Within the Service Areas of the Hadnot Point and
                Holcomb Boulevard Water Treatment Plants and Vicinities,
                  U.S. Marine Corps Base Camp Lejeune, North Carolina
                        Chapter A-Supplement 2
       Development and Application of a Methodology to Characterize
         Present-Day and Historical Water-Supply Well Operations




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                     Front cover: Historical reconstruction process using data, information sources, and
                     water-modeling techniques to estimate historical contaminant concentrations.

                     Maps: U.S. Marine Corps Base Camp Lejeune, North Carolina; Holcomb Boulevard
                     and Hadnot Point areas showing extent of sampling at Installation Restoration Program
                     sites (white numbered areas), above-ground and underground storage tank sites
                     (orange squares), and water-supply wells (blue circles).

                     Photograph (upper):   Hadnot Point water treatment plant (Building 20).

                     Photograph (lower): Well house building for water-supply well HP-652.

                     Graph: Measured fluoride data and simulation results for Paradise Point elevated
                     storage tank (S-2323) for tracer test of the Holcomb Boulevard water-distribution
                     system, September 22-October 12, 2004; simulation results obtained using EPANET 2
                     water-distribution system model assuming last-in first-out plug flow (LIFO) storage
                     tank mixing model. [WTP lab, water treatment plant water-quality laboratory;
                     FOH lab, Federal Occupational Health Laboratory]




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       Analyses and Historical Reconstruction of Groundwater Flow,
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             Within the Service Areas of the Hadnot Point and
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          U.S. Marine Corps Base Camp Lejeune, North Carolina
                       Chapter A-Supplement 2
      Development and Application of a Methodology to Characterize
        Present-Day and Historical Water-Supply Well Operations

               By IIker T. Telci, Jason B. Sautner, Rene J. Suarez-Soto, Barbara A. Anderson,
                                     Morris L. Maslia, and Mustafa M. Aral




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                             U.S. Department of Health and Human Services
                                             Atlanta, Georgia


                                                March 2013




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        Substances and Disease Registry; 2013.




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              list of Notations Used in This Supplement
              [-]               Dimensionless (no units)

              AvOpDays(w,i)     Number of operational days for each well win calendar month i [-]

              CJd)              Capacity of well won day d [L 3T-1]

               c;:; (m)         Monthly average capacity of well win month m [L 3T-1]

              d                 Day index[-]

              db                Beginning day for the daily flow sum revision period [-]

              de                Ending day for the daily flow sum revision period [-]
               d,m
                                Initial day of month m [-]
               dm
                   1            Final day of month m [-]

              M                 Set of all months during training period

              m                 Month index[-]

              mp                The month when some of the wells are estimated to operate in
                                excess of the total number of days of in month mp[-]
              N                 Number of wells[-]

               N;dd ( w)        Number of additional days for each well in set <P [-]

               N! ( w)          Number of excess days in month mp for well w [-]

               N!               Number of days in month mp[-]

               N';              Number of days in month m

              Nwid              Number of wells in set <P [-]

              OpDay(w,m)        Operational days for well win month m [Tl

               OpDay (w, m)     Adjusted operational days for well win month m [Tl

              OpHr(w,d)         Operational hours for well won day d [Tl

              PrOpDays(w,m)     Monthly predicted operating days for well w during month m [Tl

              PrOpDay ( w, m)   Adjusted monthly predicted operational days for well w
                                during month m [Tl

              qJd)              Flow produced at well w during day d [L3]




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                                   Monthly flow produced by well w during month m [L 3]

                                   Monthly excess flow for well w during month m [L 3]

                                   Total monthly flow produced by all wells during month m [L 3]

                                   Total daily flow produced by all wells during day d [L3]

                                   Total monthly excess flow during month m [L 3]

                                   WTP daily raw-water volume recording during day d [L3]

                                   WTP monthly raw-water volume data for month m [L3]

                                   Operational status of well won day d [-]

                w                  Well index[-]

                                   Delta function indicating whether adjusted number of operational days
                                   for well w during month mis zero due to "-1" labeled original data [-]

                8m(m,i)            Delta function indicating whether month m is the ith month of the year.

                L1Qd (d)           Difference between the calculated total daily flow produced by all wells
                                   and the measured WTP raw-water volume on day d [L 3]

                                   Difference between the calculated total daily flow produced by all wells
                                   and the measured WTP raw water volume during month m [L3]

                                   Amount of excess flow to be added to the flow produced by wells in set <P [L3]

                11                 Well efficiency[-]

                qJ                 The set of wells that are operating less than the total number of days
                                   in month n\ H

                                   The set of wells that have adjusted operating days exceeding the total
                                   number of days in a month [-]




                See the Glossary section in Chapter A of this report for definitions of tenns and
                abbreviations used throughout this supplement.


                Use of trade names and commercial sources is for identification only and does not
                imply endorsement by the Agency for Toxic Substances and Disease Registry or the
                U.S. Department of Health and Human Services.




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             Analyses and Historical Reconstruction of Groundwater Flow,
           Contaminant Fate and Transport, and Distribution of Drinking Water
                   Within the Service Areas of the Hadnot Point and
              Holcomb Boulevard Water Treatment Plants and Vicinities,
                U.S. Marine Corps Base, Camp Lejeune, North Carolina
                             Chapter A-Supplement 2
            Development and Application of a Methodology to Characterize
              Present-Day and Historical Water-Supply Well Operations

                           By IIker T. Telci, 1 Jason B. Sautner,2 Rene J. Suarez-Soto,2 Barbara A. Anderson,2
                                                   Morris L Maslia, 2 and Mustafa M. Aral 3




    Introduction                                                                        data are limited or unavailable. This original methodology
                                                                                        was developed specifically for this study and uses the daily
          In this supplement of Chapter A (Supplement 2), a                             operational data in the training period to determine the
    methodology is developed to estimate the historical volume of                       monthly operational behavior of water-supply wells that
    groundwater pumped from water-supply wells on a monthly                             satisfy the total water volume delivered to the WTPs. Once
    basis. The available data on the operational pattern of the                         the average monthly operating days in the training period
    water-supply wells consist of the capacities of the wells, the                      are estimated for each calendar month, they arc used in the
    operational state of the wells on a daily basis, and the volume                     prediction process, which is based on the same principle of
    of water delivered to the Hadnot Point water treatment plant                        satisfying the total monthly flow delivered to the WTPs. This
    (HPWTP) and Holcomb Boulevard water treatment plant                                 methodology is an efficient and effective way of integrating
    (HBWTP) on daily and monthly bases. The overall operating                           available data for present-day conditions (1998-2008) with
    periods of both water treatment plants are divided into two                         the prediction process for the historical years (1942-1997).
    parts: a "training period," representing present-day conditions                     Results demonstrate that historical estimates of water-supply
    (January 1998-June 2008) for analyses presented herein and                          well operations using the methodology described herein
    a "prediction period," representing historical reconstruction                       are reasonable, and therefore, results can be readily applied
    conditions (January 1942-December 1997). 4 The training                             to groundwater-flow and contaminant fate and transport
    period is defined as the time during which daily water-supply                       simulations, which are described in subsequent supplements
    well operational data arc available. The prediction period                          of the Hadnot Point-Holcomb Boulevard (HPHB) study area
    is defined as the time when water-supply well operational                           Chapter A report (Maslia et al. 2013).


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      2
          Agency for Toxic Substances and Disease Registry, Atlanta, Georgia.
      3
          Georgia Institute of Technology, School of Civil and Environmental Engineering, Multimedia Environmental Simulations Laboratory, Atlanta, Georgia.
      4
        The terms "training period" and "prediction period" also are terms used in the artificial intelligence discipline. It is not the intent of the authors to imply
    that any types of artificial intelligence concepts were applied or used for the current study. As defined in the Glossary section of this Chapter A report, the terms
    "training period" and "prediction period" refer strictly to present-day conditions and historical reconstruction conditions, respectively, for the purposes of recon-
    structing historical monthly water-supply well operations.



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  Background - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


  Background                                                                           Detailed daily data pertaining to the pumping schedule
                                                                                 of the wells are available subsequent to January 1998
        A study and reconstruction of historical contamination                   (Scott R. Williams, U.S. Marine Corps Base Camp Lejeune,
  events in finished water5 at U.S. Marine Corps Base (USMCB)                    written communication, December 2008). Prior to 1998,
  Camp Lejeune, North Carolina, is being conducted by the                        data pertaining to well operations are limited or unavailable.
  Agency for Toxic Substances and Disease Registry (ATSDR).                      Similarly, daily WTP raw-water volumes are available after
  USMCB Camp Lejeune has been used as a military training                        December 1994. Between 1980 and 1994, monthly raw-water
  facility since 1942 and is located in Onslow County in the                     volumes are available; yearly volumes are available for
  central part of the North Carolina Coastal Plain. The Base is                  some years prior to 1980. A trendline was used to estimate
  located south of the City of Jacksonville and about 70 miles                   raw-water flows for years prior to 1980 when no data exist.
  northeast of the City of Wilmington (Figure S2.l).                             Monthly raw-water flow percentages were then calculated
        The historical reconstruction of contaminant fate and                    using known monthly data for the period 1980-2004. These
  transport in groundwater of the Tarawa Terrace base housing                    values were used to estimate monthly raw-water flows prior
  area ofUSMCB Camp Lejeune and historical finished-water                        to 1980. This methodology is based on two assumptions:
  concentrations supplied by the Tarawa Terrace WTP have been                    (1) similar characteristics of the operational patterns of the
  extensively studied by ATSDR. Those studies, analyses, and                     wells and WTPs for the periods of time before and after
  results are described in previous reports (Maslia et al. 2007;                 January 1998, and (2) equality between total water volume
  Wang and Aral 2008; Maslia et al. 2009). Current studies                       delivered to the WTP from the operating wells and the WTP
  (2010 and thereafter) focus on historical reconstruction of                    raw-water volume data at all times.
  contaminant concentrations in groundwater and finished water
  in the Holcomb Boulevard and Hadnot Point water-distribu-
  tion systems (also referred to as the HPHB study area). This
  reconstruction process requires gathering information about                    Data Availability
  the groundwater system, characterizing contaminant sources,
  and simulating contaminant fate and transport in the ground-                   Data Sources 6
  water system and the water distribution systems serving the                         Four types of data sources pertinent to water-supply
  HPHB study area. The WTPs serving these areas of the base                      well operational records and WTP raw-water records are
  obtained groundwater from 96 water-supply wells (hereafter                     used in this supplement. These are (1) daily operational
  referred to as wells or supply wells) distributed in these areas               records, January 1998-June 2008 (Scott R. Williams, U.S.
  and on the east side ofUSMCB Camp Lejeune (Figure S2. l).                      Marine Corps Base Camp Lejeune, written communication,
  Therefore, information on the historical operational schedules                 December 2008), (2) Camp Lejeune Historic Drinking Water
  of these wells is a prerequisite for the simulation of ground-                 Consolidated Document Repository records (CLHDW CDR
  water flow, contaminant fate and transport, and the distribution               2011), (3) Camp Lejeune Water Documents (CLW 2007), and
  of finished water in the HPHB study area.                                      (4) U.S. Geological Survey (USGS) well inventory documents
        The purpose of this part of the historical reconstruction                (USGS, well inventory, written communication, March 2004).
  analysis (and the details described in this supplement of the                  Using these data sources, operational chronologies for 96
  Chapter A report) is to reconstruct the pumping (operational)                  wells supplying groundwater (raw water) to the HPWTP and
  schedules of wells supplying groundwater to the HPWTP                          HBWTP were developed (Figure S2.2). Details on the descrip-
  and HBWTP. The estimated monthly flows produced by the                         tions and characterizations of data pertinent to well capacities,
  wells will be used as input data to the groundwater-flow and                   histories, and operations are found in Sautner et al. (2013).
  contaminant fate and transport models described in subsequent
  supplements of the HPHB Chapter A report (Suarez-Soto et al.
  2013; Jones et al. 2013).




                                                                                    6
                                                                                      Certain documents have been provided to ATS DR by the Department of
                                                                                 the Navy (Headquarters Marine Corps, Eastern Area Counsel Office, and
     5
       For this study, finished water is defined as groundwater (or raw water)   Marine Corps Base Camp Lejeune) under terms of "For Official Use Only"
  that has undergone treatment at a WTP and is delivered to a person's home      (FOUO) documents. Some of these documents are not releasable by ATSDR
  or other facility.                                                             under the terms ofFOUO.




  S2.2                  Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
                    Holcomb Boulevard Water Treatment Plants and Vicinities, U.S. Marine Corps Base Camp Lejeune, North Carolina
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    - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - Data Availability


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              Holcomb Boulevard / ' ,
              WTP Service Area
                (1987-present)




                             Hosp it
                              Point

                     Hadnot Point
                   WTP Service Area
                    (1942-present)




                                                                               Base from U.S. Marine Corps
                                                                               and U.S. Geological Survey
                                                                               digital data files                                      2 KILOMETERS
                                                     Base from Camp Lejeune
                                                       GIS Office, June 2003


                                                                                     EXPLANATION
                         Historical water-supply areas of Camp Lejeune Military Reservation                      Water treatment plant (WTP)
                            D Montford Point     D New River Air Station                                     □    Name and length of operation

                            CJ Tarawa Terrace    CJ Rifle Range                                                    Hadnot Point: 1942-present
                                                                                                                   Holcomb Boulevard:
                            CJ Holcomb Boulevard    Courthouse Bay                                                   June 1972-present

                            CJ Hadnot Point      CJ Onslow Beach                                                   Tarawa Terrace: 1952-1987

                                                                                                       HP-608 o Water-supply well
                            C          Other areas of Camp Lejeune Military Reservation                            and identifier


             Figure S2.1. The Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina.

   Chapter A-Supplement 2: Development and Application of a Methodology to                                                                            S2.3
   Characterize Present-Day and Historical Water-Supply Well Operations
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  Data Availability - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
                                                                                                                     Training
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                    have a reported start of service of October 1984
                    and November 1984, respectively. Both wells were
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                    operated simultaneously until HP-639 (new) was
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                    taken out of service during February 1989.                                                                                    0          ...T
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           1940                   1950                           1960                          1970                         1980                          1990                            2000                        2010

                                                                                                    EXPLANATION
                  Water-supply well contributed                                       Water-supply well                                                                    Replacement well name
                                                                                                                                                  Well                      End of service date uncertain
                   contributes raw water to                                 e Hadnot Point                                               (        name              (                /     ,-End of service
                  D      Neither Hadnot Point WTP
                                                                            •         Holcomb Boulevard                                 M-1                 LCH-4006 --II I              I .         ►
                          or Holcomb Boulevard WTP
                  D      HadnotPointWTP                                     e Not connected to a water-                            \ _ Sstaerrtvo,cfe\_ End of service and                       In ~rvice as
                                                                                       distribution system
                  D      Holcomb Boulevard WTP
                                                                                                                                                         start of service for
                                                                                                                                                         replacement well
                                                                                                                                                                                                   of June 2008


          Figure S2.2. Operational chronology of Hadnot Point and Holcomb Boulevard water-supply wells, Hadnot Point-
          Holcomb Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina, 1942-2008.

  S2.4          Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
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    - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - Data Availability

          Figure S2.2 shows the operational chronology of wells         Table S2.1.   Status, explanation, and interpretation of water-
    that supplied raw water to the HBWTP and HPWTP. The                 supply wells in daily operation records, Hadnot Point-Holcomb
    numbers of wells that have been supplying groundwater to            Boulevard study area, U.S. Marine Corps Base, Camp Lejeune,
    the HBWTP (since 1972) and the HPWTP (since 1942) are 24            North Carolina.
    and 72, respectively. These wells have daily well operational       [Data sources: Camp Lejeune Public Works Department, Utility Section;
    records for the period January 1998-June 2008 (Scott R.             CLHDW CDR (2011); CLW (2007), U.S. Geological Survey, well inventory,
    Williams, U.S. Marine Corps Base Camp Lejeune, written              written communication, March 2004]
    communication, December 2008). Prior to January 1998,                 Status                      Explanation                     Interpreted as
    daily well operational records are unknown except for some
    intermittent periods (CLW 2007; CLHDW CDR 2011).                           ?       Status not known                                 Prediction
    Therefore, the available data are divided into two periods,                0       Well not operating and water treat-                     0
    delineated by the vertical line in Figure S2.2. The period of                       ment system being operated under
    January 1998-June 2008, during which the daily operational                          everyday normal conditions
    records of the wells in the Holcomb Boulevard and Hadnot                           Well operating and water treatment
    Point service areas are known, is identified in this supplement                     system being operated under
    as the "training period." The time prior to January 1998                            everyday normal conditions
    is called the "prediction period" in this supplement. For
                                                                               2       Well operating, however, water treat-
    Holcomb Boulevard, the prediction period begins during                              ment system not being operated
    January 1972; for Hadnot Point the prediction period begins                         under everyday normal conditions
    during July 1942.
                                                                               -1      Out of service; well "down" or                          0
          A daily well operational record consists of a date, the
                                                                                         "pulled" from system temporarily
    operational status, and capacity (maximum volume of flow
    that can be delivered by the pump in the well, in gallons per              -2      Well not operating and water treatment                  0
    minute) of the well on that specific date. For a given date,                        system not being operated under
    a well may be in several different operational states. These                        everyday normal conditions
    states and an explanation of their corresponding values in the         NA          Not available; status not known                    1
                                                                                                                                              0 or 1
    daily operational records are listed in Table S2. l.                   0-1         Well operating part of day and not                      0
          In addition to daily operational records, WTP raw-water                       operating part of day
    flow-rate data (in million gallons [Mgal]) also are available
                                                                           1
                                                                               Depends on -1 operational status prior to and after "NA" period.
    (USGS, well inventory, written communication, March 2004;
    CLW 2007; CLHDW CDR 2011). Daily WTP flow rates are
    known for January 1995-June 2009 for the HPWTP and
                                                                        wells in a WTP) are interpreted in this analysis as either half
    HBWTP. Prior to January 1995, monthly flow-rate data (in
                                                                        operation or no operation, depending on the operational status
    Mgal) are available or have been determined based on the
                                                                        of the well prior to and after the "NA" period. If the well is in
    methodology previously described. A WTP flow rate repre-
                                                                        a "-1" operational status (out of service) prior to and after the
    sents the sum of the flows produced by all wells supplying
    water to the HPWTP or HBWTP.                                        "NA" period, all "NA"s are interpreted as a "0" operational
                                                                        status (not operating). Otherwise, it is assumed that the well
                                                                        had operated for half of the "NA" period. As a result of
    Data Interpretation                                                 the aforementioned operational assumptions, all wells are
         As stated in the Data Sources section, a well can be           assigned operational status values of either "0" (not operating)
    in several different operational states depending on the            or 'T' (operating) for all days in the training period. The
    operational conditions of the well and the WTP (Table S2. l ).      available data are now ready to be used for training of the
    An empty data slot (shown as a "?" in the status column of          wells. The operational status of the wells was determined by
    Table S2.l) indicates that the operational status of the well is    ATSDR water-modeling staff after a review of available data.
    unknown and the operating dates occur during the prediction         Given these data, the methodology developed below is based
    period (Figure S2.2). In addition to the aforementioned predic-     on the assumption that historical operations of the water-
    tion status, a well can be in seven different operational states.   supply wells can be approximated by the demand and supply
    These seven operational states are represented by a binary          criteria for present-day (January 1998-June 2008) operations.
    code that is assigned a value of O when the well is not oper-       Thus, the overall model derived for this analysis and described
    ating and a value of 1 when the well is operating. The "NA"         in this supplement is unique for present-day operational
    (not available) operational status data that intermittently occur   patterns (January 1998-June 2008) recorded for Hadnot Point
    in the training period for 1-6 months (simultaneously for all       and Holcomb Boulevard water-supply wells.




   Chapter A-Supplement 2: Development and Application of a Methodology to                                                                         S2.5
   Characterize Present-Day and Historical Water-Supply Well Operations
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  Present-Day Period (1998-2008)-Training Process (TP) - - - - - - - - - - - - - - - - - - - - - - - -


  Present-Day Period (1998-2008)-                                     used in conjunction with monthly average capacities (TP5) to
                                                                      calculate monthly total flows produced by all available wells.
  Training Process (TP)                                               These total flows are then compared with the monthly WTP
                                                                      raw-water volume data as a check on monthly flows (TP6).
       The training process (TP) is composed of several calcula-
  tions and checking steps (Figure S2.3). The results of these        Next, the number of operating days in a month is adjusted (TP7)
  steps were reported in separate sheets of a Microsoft Excel®        such that the total monthly flows produced by all available wells
  workbook. The TP is summarized below, and computational             are equal to the monthly WTP raw-water volume data. If the
  details that are pertinent to each step (TP 1-TP 11) are provided   adjusted number of operating days in a specific month exceeds
  in subsequent report sections.                                      the total number of days in that month, the excess flow due
       The training process starts by calculation of the daily        to the excess number of days is distributed to other available
  sums of flows (TPI) produced by all available wells using           wells to obtain the revised adjusted number of operating days
  the interpretation of operational status data (Table S2.1) and      in a month (TPS). The monthly adjusted trained flow for each
  assuming a 24-hour operating schedule. According to the rule        well (TP9) is then calculated using the corresponding revised
  explained in report sections that follow, daily flow sums are       adjusted number of operating days and the monthly average
  revised for days when less than three wells are operating (TP2).    capacities. A final monthly adjusted flow check (TP 10) is
  The number of daily operating hours (TP3) is calculated by an       computed to demonstrate that total monthly adjusted flows
  adjustment process that forces the daily flow sums to be equal to   produced by all available wells are equal to the monthly WTP
  the daily WTP raw-water volume data. The number of operating        raw-water volume data. To end the training process, monthly
  days in a month (TP4) can be calculated from the total number       average operating days (TPl 1) of the wells for each calendar
  of operating hours in that month. This information can then be      month are calculated and used in the prediction process (PP).



  Figure S2.3.    Flowchart
  of the training process,
  Hadnot Point-Holcomb
  Boulevard study area,                       Start
                                                                           Monthly capacities
  U.S. Marine Corps Base               training process                          (TP5)
  Camp Lejeune, North                        (TP)
                                                                                                             EXPLANATION
  Carolina. (Note: For                                                                                            Start or stop
  computational details,                                                                                            of process
  refer to individual report            Daily flow sum                    Monthly flow check
                                            (TP1)                                (TP6)                            Input/data
  sections as shown in
  flowchart boxes.)                                                                                               Calculation
                                                                                                         _____.   Flow line
                                        Daily flow sum                     Adjusted number
                                            revised                        of operating days
                                                                                                         - - ►    Input/calculation
                                            (TP2)                              in a month                  @      Continuation
                                                                                 (TP7)


                                       Number of daily
                                                                            Adjusted number
                                       operating hours
                                            (TP3)                           of operating days
                                                                           in a month revised
                                                                                 (TP8)


                                     Number of operating
                                       days in a month                          Adjusted
                                            (TP4)                            trained flows
                                                                                 (TP9)


                                             @
                                                                           Monthly adjusted                    Monthly average
                                                                             flow check                         operating days
                                                                                (TP10)                             (TPl 1)




  S2.6                Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
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    - - - - - - - - - - - - - - - - - - - - - - - Present-Day Period (1998-2008)-Training Process (TP)

                 Daily Flow Sum (TP1)
                       Initially, all available wells are assumed to operate 24 hours per day. The flow
                 rates produced by each well are calculated by using Equation S2. l :7

                                                                                                                                  (S2. l)

                 where
                            q w ( d)    is the flow produced by well w during day d,
                                 7/     is the well efficiency,
                           Cw (d)       is the capacity of well w on day d, and
                           Sw ( d)      is the interpreted status of the well w on day d defined as a
                                            step function according to Equation S2.2.

                                         S ( d) = {O if well w is not working on day d.
                                                                                                                                  (S2.2)
                                          w        J if well w is working on day d.

                 The total flow produced by all wells is calculated by using Equation S2.3 and is
                 compared with WTP daily raw-water volume data (Equation S2.4):
                                                                        N

                                                            Q1(d)= _L,qw(d)         and                                           (S2.3)
                                                                       w=J



                                                                                                                                  (S2.4)

                 where
                           Q; (d)       is the total daily flow produced by all wells during day d,
                                 N      is the number of wells,
                         Q~id)          is the WTP daily raw-water volume data for day d, and
                         LiQ\d)         is the difference between the calculated total daily flow
                                            produced by all wells [ Q: (d) ] and the measured
                                            WTP raw-water volume [ Q!rp (d)].




                   7
                       Refer to the List of Notations in the front part of Supplement 2 for a complete list of mathematical notations.



   Chapter A-Supplement 2: Development and Application of a Methodology to                                                                  S2.7
   Characterize Present-Day and Historical Water-Supply Well Operations
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                                                                                                             CLJA_WATERMODELING_0S-0000824370
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  Present-Day Period (1998-2008)-Training Process (TP) - - - - - - - - - - - - - - - - - - - - - - - -

               Daily Flow Sum Revised (TP2)
                    After the Daily Flow Sum (TPl) step is completed, the Q; ( d)value can be too small for
               some days in the TP, especially when there are less than three wells reported as operating.
               Because this issue will cause very long daily operating hours (on the order of 100 hours) in
               the Number of Daily Operating Hours (TP3) step, the available data are modified for days
               on which the original operational state of the wells is not reported as NA (Table S2. l ). The
               revision process starts with determining the periods containing less than three operating wells.
               Once such a period is determined, the previous normal (three or more wells) operating day is
               labeled as day db_ and the normal operating day after this period is labeled as de. The operating
               schedule for current day d, which is in the period when less than three wells are operating
               (db< d <de), is replaced by the schedule of db or de, whichever has a closer WTP raw-water
               volume measurement when compared with that of the current day (Equation S2.5).


                                          I
                                 qw ( d) = qw (db) iJ IQ;TP ( d)-Q;{yp ( db )I< IQ;{yp ( d)-Q;{yp ( de )I
                                          lqw (de) otherwise                                                    (S2.5)



               After this process, some of the Q; (d) are still small enough that the number of daily operating
               hours exceeds 24. However, the number of hours in excess of 24 is not large enough to cause a
               significant excess in the number of operating days so that they exceed the number of calendar
               days in a month (i.e., 28, 29, 30, or 31 days). In this study, the choice ofusing less than
               three operating wells in a day is made in order to achieve reasonable results with minimum
               modification of the available data.


               Number of Daily Operating Hours (TP3)
                     The number of operating hours of a well won day dis calculated by modifying the initial
               assumption of a 24-hour operational schedule by an adjustment factor such that the resulting
               total daily flow produced by all operating wells is equal to the WTP raw-water volume data on
               that day (Equation S2.6). According to this equation, the wells will operate less than 24 hours
               on days when L1 Qd ( d) is positive and more than 24 hours on days when L1 Qd ( d) is negative.
               However, as discussed in the Daily Flow Sum Revised (TP2) section, these excess hours do not
               cause substantially large excessive monthly operating days that exceed the number of calendar
               days in a specific month.


                                                                         Q;{yp ( d) (d)
                                                     OpHr ( w, d) =24       d( ) Sw                             (S2.6)
                                                                          QT d




               Number of Operating Days in a Month (TP4)
                    Number of operating days for each well in a month (TP4) is calculated as the summation
               of estimated daily operating hours during that month (Equation S2. 7).

                                                                ] dJ'
                                                     OpDay(w,m)=-
                                                               24 d~d;"
                                                                            L
                                                                        OpHr(w,d),                              (S2.7)



               where dt and d; are the first and last days of month m respectively.




  S2.8           Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
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    - - - - - - - - - - - - - - - - - - - - - - - Present-Day Period (1998-2008)-Training Process (TP)

                  Monthly Capacities (TP5)
                        The monthly capacities (TP5) of a well are calculated by taking the average of the daily
                  capacity values of a well during each month. Only days when a well is operating are included
                  in the averaging process (Equation S2.8).


                                            c;(m)= dm l           I_
                                                                  cw(d)Sw(d),                                 (S2.8)
                                                       fSw(d)d~dr
                                                  d~d;'

                  where c; (m) is the monthly average capacity of well win month m.
                      Ifa well is not operating for an entire month (28, 29, 30, or 31 days), the monthly average
                  capacity for that specific well in that month is not calculated. This is because the average
                  monthly capacity for that specific well is not needed in subsequent calculations.


                  Monthly Flow Check (TP6)
                       Once the monthly average capacities (TP5) and number of operating days in a month
                  (TP4) are calculated (Equations S2.8 and S2. 7, respectively), the total monthly flow produced
                  by all operating wells can be calculated (Equation S2.9) and compared with the monthly raw-
                  water volume data from the WTP (Equation S2.10).

                                                           N

                                              Q;(m)= I,c;(m)17OpDay(w,m) and                                  (S2.9)
                                                           w=l




                                                                                                             (S2.10)

                  where
                     Q;(m)         is the total monthly flow produced by all wells during month m,
                     Q~p(m)        is the WTP monthly raw-water volume data for month m, and
                     LiQm(m)       is the difference between the calculated total monthly flow produced
                                       by all wells and the measured WTP raw-water volume.


                  Adjusted Number of Operating Days in a Month (TP7)
                        In this step, the number of operating days in a month is adjusted such that the total
                  monthly flow (Equation S2.9) produced in all wells is equal to the WTP monthly flow-rate
                  record as shown in Equation S2.11. According to Equation S2.11, the number of operating
                  days of the wells for a specific month will decrease for positive LiQm ( m) and will increase for
                  negative LiQm ( m). The increase in the number of operating days may cause the total number
                  of operating days for a specific month to exceed the number of days in a calendar month-
                  this issue is resolved in the next step of the training period procedure (TPS).


                                              -  ( w,m ) = OpDay ( w,m )Q;;;TP(m)
                                              OpDay                        m( )                              (S2.11)
                                                                         QT m




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  Present-Day Period (1998-2008)-Training Process (TP) - - - - - - - - - - - - - - - - - - - - - - - -

              Adjusted Number of Operating Days in a Month Revised (TPB)
                    When the adjusted numbers of operating days in a month (calculated in the previous step,
              TP7) are checked, these values exceed the total number of days in a calendar month for some
              months and wells. To resolve this issue, the excess flow due to these excess days is equally
              distributed among remaining wells that operate less than the total number of days in a specific
              calendar month. As a result, for wells whose operating days exceed the number of days in a
              calendar month, the adjusted operating days are decreased to the number of days in a specific
              calendar month; for the remaining operating wells, the number of operating days in the same
              calendar month is increased. Because the aforementioned increase may cause some of the remaining
              wells to operate in excess of the total number of days in a specific calendar month, the TP8 step is
              performed in an iterative loop until all available wells operate for no more than the total number of
              days in a specific calendar month (28, 29, 30, or 31 days). To further explain step TP8 process in
              detail, let us assume that some wells are estimated to operate in excess of the total number of days
              for months mP. Then, the solution method is summarized in the following 8-step procedure:
              1.   Determine the wells that have Adjusted Operating Days (Equation S2.11) that exceed
                   the number of days in a month. Let Q be the set of such wells.

              2.   Let N! be the number of days in mP and determine excess days, N! ( w), for each
                   of the wells (Equation S2.12).
                                          N!(w)=OpDay(w,mP)-N;, VwED                                          (S2.12)


              3.   Calculate monthly excess flow Q;:: ( w) for each well (Equation S2.13).

                                                                                                              (S2.13)


              4.   Calculate total monthly excess flow Q;ex for each well (Equation S2.14).

                                                          Q;ex =   L Q;::(w)
                                                                   VwED
                                                                                                              (S2.14)


              5.   Distribute total monthly excess flow to all available wells that are operating less than
                   the total number of days in month mP. Let <P be the set of such wells and Nwzd be the
                   number of wells in this set.
                                                                                                              (S2.15)

                   where .1 Q:( w) is the amount of excess flow to be added to the flow produced by the
                   wells in set <1J .

              6.   For each well in set <1J, calculate the number of additional operating days required
                   to produce the excess flow, .1Q:(w) (Equation S2.16).

                                                  Nd      (w)= .1Q;(w) VwE<P                                  (S2.16)
                                                    add
                                                               11 cm(m
                                                                   w   p
                                                                         )'


              7.   Calculate revised adjusted number of operating days in month mP (Equation S2.17).

                                     -(         ) !OpDay(w,mP)+N!dd(w) ifwE<P
                                     OpDay w, mp = d                                                          (S2.17)
                                                   Nm                 ifwE.Q

              8.   Determine if the adjusted number of operating days for any well exceeds the total number
                   of days for a specific month (28, 29, 30, or 31 days). If the answer is yes, then go to Step 1
                   and repeat the aforementioned process. If all wells in month mP operate for less than or
                   equal to the total number of days in month mP , the revision process for month mP is complete.


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    - - - - - - - - - - - - - - - - - - - - - - - Present-Day Period (1998-2008)-Training Process (TP)

                 Adjusted Trained Flows (TP9)
                      In this step, monthly flow rates produced by each well are calculated by using the
                 adjusted number of operating days in a month (TP7) revised in the previous step (TPS),
                 well efficiency ( 77 ), and the monthly capacity [ c; (m)] values (Equation S2.18).

                                                   q; ( m) =rye; (m )OpDay( w,m)                                  (S2.18)


                 Monthly Adjusted Flow Check (TP10)
                      The total monthly flow produced by all wells is calculated by using Equation S2.19
                 and is compared with the WTP monthly raw-water volume data (Equation S2.20).
                                                                     N

                                                         Q;1(m)= Lq;(m) and                                       (S2.19)
                                                                    w=I



                                                                                                                  (S2.20)

                 where
                     Q;1 (m)      is the total monthly flow produced by all wells during month m,
                           N      is the number of wells,
                    Q;TP (m)      is the WTP monthly raw-water volume data for month m, and
                   LiQm (m)       is the difference between the calculated total monthly flow produced
                                      by all wells and the measured WTP raw-water volume.
                 As a final check on the training process, it is noted that all calculated LiQm ( m) values are
                 zero for all months in the training period.


                 Monthly Average Operating Days (TP11)
                       The average number of operating days for each well in a calendar month is calculated
                 by taking the average over the years during training period of the revised adjusted number
                 of operating days (TPS) for that specific month. In the averaging process, if a well has zero
                 operating days in a month (having a "-1" status, Table S2.1), then the month is excluded
                 from the average calculation. To calculate the average, let M be the set of all months during
                 the training period. Equations S2.21 and S2.22 define two delta functions as follows:
                                                                           th
                                               ( m, i) = { 0 if m is not i month of the year.
                                           0                                                                      (S2.21)
                                             m             I if m is i' h month of the year.


                                              O if Op Day ( w, m) = 0 due to "-1" labeled original data.
                                 oAm,i)=                                                                          (S2.22)
                                            { 1 otherwise.

                 The number of operating days for each well win calendar month i can be calculated
                 using Equation S2.23.


                                      AvOpDays(w,i)                                                               (S2.23)
                                                                   L 8m(m,i)8d(m,i)
                                                                  '<imEM



                 The average values calculated using Equation S2.23 will be used as the operating days
                 of wells for a specific calendar month if historical operational data during the prediction
                 period are not available.


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  Historical Reconstruction Period (1942-2007)-Prediction Process (PP) - - - - - - - - - - - - - - - - - - -


  Historical Reconstruction Period                                        The prediction process starts with gathering information
                                                                     on monthly average operating days (obtained from the TPll
  (1942-2007)-Prediction Process (PP)                                step) and surrogate wells. Then, monthly predicted operating
                                                                     days (PP2, Figure S2.4) are assigned to each well for the
       Similar to the training process, the prediction process       prediction period. During the assignment process, if data for
  (PP) is structured as a series of calculations and checking        an entire month are available, these data are used to calculate
  steps (Figure S2.4 ). The results of these steps were placed       the monthly predicted operating days. For each well, monthly
  in separate sheets of a Microsoft Excel® workbook. Because         average capacities (PP3) also are calculated during the predic-
  some wells did not physically exist during the training            tion process. Monthly predicted flows (PP4) are then estimated,
  period, surrogate wells were selected to represent these           and monthly total flow is compared with the WTP monthly
  untrained wells.                                                   raw-water volume data in the monthly total flow check (PPS).
                                                                     Next, monthly predicted operating days are adjusted (PP6)




                                                                        Adjusted monthly                   EXPLANATION
                                                                     predicted operating days
            Monthly average
             operating days
                                                                              (PP6)                 c=) Start or stop
                                                                                                          of process
               (TP11, from
           training process)                                                                        \        ~ Input/data
                                           Surrogate well                                                       Calculation
                                                                         Adjusted monthly
                                            information
                                               (PP1)
                                                                        predicted operating             _____. Flow line
                                                                           days revised
           Monthly predicted                                                  (PP7)                     - - ►   Input/calculation
            operating days
                (PP2)                                                                                    ®      Continuation

                                          Monthly average
                                            capacities                   Adjusted monthly
                                              (PP3)                       predicted flows
                                                                               (PPB)
           Monthly predicted
                flows
                (PP4)

                                                                         Final monthly total
                                                                             flow check
                                                                                (PP9)
             Monthly total
              flow check
                 (PP5)
                                                                                End
                                                                        prediction process
                                                                                (PP)


  Figure S2.4.  Flowchart of the prediction process, Hadnot Point-Holcomb Boulevard study area, U.S. Marine Corps Base Camp
  Lejeune, North Carolina. (Note: For computational details, refer to individual report sections as shown in flowchart boxes.)




  S2.12               Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
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    - - - - - - - - - - - - - - - - - - - Historical Reconstruction Period (1942-2007)-Prediction Process (PP)

    such that total monthly flow produced by all wells is equal        Table S2.2. Identification of surrogate water-supply wells used to
    to the monthly raw-water volume recording at the WTP. As           represent untrained wells, Hadnot Point-Holcomb Boulevard study
    a result of step PP6, it is observed that the adjusted operating   area, U.S. Marine Corps Base Camp Lejeune, North Carolina.
    days during some months exceed the total number of days            [Refer to Figure S2.l for water-supply well locations and Figure S2.2 for
    for a specific month (28, 29, 30, or 31). To resolve this issue,   operational chronologies]
    excess flows due to the excess number of days are distributed                                  Water-supply wells
    to other operating wells to obtain the revised adjusted monthly                  Untrained                              Surrogate
    operating days (PP7). Subsequent to this revision process,
                                                                               Holcomb Boulevard water treatment plant service area
    the adjusted monthly predicted flow (PPS) for each well is
    calculated using the corresponding revised adjusted operating                     HP-645                                 HP-644
    days (PP7) and monthly average capacities (PP3). To conclude                      HP-649                                 HP-648
    the prediction process, a monthly total flow check (PP9) is                       HP-706                                 HP-705
    conducted to demonstrate that total flows produced by all                         HP-707                                 HP-704
    operating wells are equal to the monthly WTP raw-water                        Hadnot Point water treatment plant service area
    volume data. Details for each of the prediction process steps                     HP-601                                 HP-606
    are presented in the next sections of this report.                                HP-602                                 HP-642
                                                                                      HP-603                                 HP-606
                                                                                      HP-604                                 HP-642
    Surrogate Well Information (PP1)
                                                                                      HP-605                                 HP-642
          Some of the water-supply wells operating during the                         HP-607 (old)                           HP-642
    historical prediction (reconstruction) period were not in                         HP-608                                 HP-606
    service during the training period (e.g., wells HP-602 and                        HP-609                                 HP-628 (new)
    HP-651, Figure S2.2). These wells, for which data were not                        HP-610                                 HP-633
    available during the training period (January 1998-June 2008),
                                                                                      HP-611 (old)                           HP-623
    were represented by "surrogate" or replacement wells during
                                                                                      HP-612 (old)                           HP-607 (new)
    the prediction period for this analysis. Some of the untrained
                                                                                      HP-614 (old)                           HP-622
    wells were replaced by wells that did have training data
    (Figure S2.2). These wells were assumed to operate using the                      HP-615                                 HP-616
    same operational patterns (scheduling) as their replacements                      HP-617 (old)                           HP-654
    having the same monthly average operating days. Other                             HP-618 (old)                           HP-641
    untrained wells that did not have replacement wells during                        HP-619 (old)                           HP-620
    the training period were assigned surrogate wells based on                        HP-621 (old)                           HP-629 (new)
    several factors: (1) geohydrologic and hydrogeologic charac-                      HP-624                                 HP-628 (new)
    teristics of the surrounding aquifers and water-bearing zones,                    HP-625                                 HP-662
    (2) well characteristics such as capacity and demand data,                        HP-626                                 HP-628 (new)
    and (3) proximity of the surrogate well to the well it replaced
                                                                                      HP-627 (old)                           HP-661
    (e.g., wells HP-634 and HP-606, Figure S2.l). Table S2.2 lists
                                                                                      HP-628 (old)                           HP-662
    the surrogate and untrained wells contributing raw water to
                                                                                      HP-629 (old)                           HP-640
    the HBWTP and HPWTP. As listed in Table S2.2, 4 surrogate
    wells were selected to represent the untrained wells for the                      HP-630                                 HP-642
    Holcomb Boulevard service area, and 39 surrogate wells were                       HP-631                                 HP-652
    selected to represent untrained wells for the Hadnot Point                        HP-634                                 HP-606
    service area. Once the surrogate wells were selected using the                    HP-635                                 HP-642
    aforementioned selection factors, all wells were then assigned                    HP-636                                 HP-642
    monthly average operating-day information (TPll and PPl,                          HP-637                                 HP-642
    Figure S2.4) that could be used during the prediction process.                    HP-638                                 HP-628 (new)
                                                                                      HP-639 (new)                           HP-662
                                                                                      HP-639 (old)                           HP-662
                                                                                      HP-651                                 HP-633
                                                                                      HP-653                                 HP-633
                                                                                      HP-655                                 HP-662
                                                                                      HP-660                                 HP-606
                                                                                      LCH-4006                               LCH-4009
                                                                                      M-1                                    LCH-4009
                                                                                      M-2                                    LCH-4007


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  Historical Reconstruction Period (1942-2007)-Prediction Process (PP) - - - - - - - - - - - - - - - - - - -

              Monthly Predicted Operating Days (PP2)
                   For each well, the number of operating days in a month was predicted to be equal to the
              average number of operating days calculated for that calendar month in the training process
              (TPl 1). If operational data were available for a complete month during the prediction period,
              then the available data were used, rather than relying on prediction results. Monthly predicted
              operating days of a well are defined by the following function in Equation S2.24:

                                            dm
                                             f

                                           r. SW ( d) if data are available for well w during month m.
                Pr OpDays ( w, m ) =       d~dm                                                              (S2.24)
                                       {                                   th
                                           AvOpDays( w,i) such that mis i month of the year, otherwise.


              The first and last days of month mare dt and d;, respectively.


              Monthly Average Capacities (PP3)
                   To calculate monthly predicted flows, information pertinent to monthly average capacities
              of the wells is required. This information is obtained for each well by calculating the average
              of the daily capacity for each month. In this calculation, which is different from the monthly
              capacities calculated during the training process (TP5), all of the days are included in the
              averaging process because the daily operational status of the wells (when the wells were
              operating or not operating) is unknown. Thus, the average monthly well capacity for each
              well in the prediction process is calculated according to (Equation S2.25):


                                                                                                             (S2.25)


              where N; is the number of days in month m.


              Monthly Predicted Flows (PP4)
                   Monthly flows produced by each well during the prediction process are calculated
              by using the monthly predicted operating days during a month (PP2), the well efficiency (17),
              and the monthly average capacity (PP3) values as described by Equation S2.26:

                                                  q:(m) = 77C;(m)PrOpDays(w,m).                              (S2.26)



              Monthly Total Flow Check (PPS)
                   Once the monthly predicted flows ( q; ( m), calculated during step PP4 in Figure S2.4)
              are known, the total monthly flow produced by all available wells can be calculated
              (Equation S2.27) and compared with monthly raw-water volume data from the WTP
              (Equation S2.28). These calculations are similar to those used during the training process
              (Equations S2.19 and S2.20) in step TPlO.
                                                                   N
                                                        Q;1(m)= 'I,q;(m) and                                 (S2.27)
                                                                  w=I



                                                                                                             (S2.28)




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    - - - - - - - - - - - - - - - - - - - Historical Reconstruction Period (1942-2007)-Prediction Process (PP)

                 where
                     Q;(m)       is the total monthly flow produced by all wells during month m,
                           N     is the number of wells,
                    Q;;TP (m)    is the WTP monthly raw-water volume data for month m, and
                   LiQm (m)      is the difference between the calculated total monthly flow produced
                                     by all wells and the measured WTP raw-water volume.


                 Adjusted Monthly Predicted Operating Days (PPG)
                      Similar to adjustments during the training process (TP7, Figure S2.3), the number
                 of operating days in a month is adjusted such that the total monthly flow produced by all
                 operating wells is equal to the WTP monthly flow-rate data (Equation S2.29).

                                                                                 Qm (m)
                                             PrOpDay(w, m) =PrOpDay(w,m)           WTP                         (S2.29)
                                                                                  Q;(m)

                 As described in the adjustment step of the training process (TP7), the number of operating days
                 of the wells during a month will decrease for positive Li Qm ( m) values and will increase for
                 negative Li Qm ( m) values. The increase may cause the number of predicted days to be greater
                 than the total number of days for a specific calendar month (28, 29, 30, or 31), and this issue is
                 resolved in the next step of the predictive process (PP7).


                 Adjusted Monthly Predicted Operating Days Revised (PP7)
                       When the adjusted monthly predicted operating days ( Pr OpDay ( w, m) ) calculated in the
                 previous predictive process step (PP6) are examined, it is observed that some wells are predicted
                 to operate in excess of the number of days in a calendar month (28, 29, 30, or 31 ). This issue
                 is resolved much like the explanation in the "Adjusted Number of Operating Days in a Month
                 Revised" section of the training process (TP8). As such, Equations S2.12 to S2.17 are also
                 applied to the adjustment process during the prediction process (step PP7). Note, however, that
                 Equations S2.12 to S2.17 are applied to months during the prediction process; therefore, the
                 function Pr OpDay ( w, m) will be used instead of the function OpDay ( w, m).


                 Adjusted Monthly Predicted Flows (PPB)
                       In this step, monthly predicted flows produced by each well (Equation S2.30) are calculated
                 by using the parameters of adjusted monthly predicted operating days revised, which is discussed
                 in the previous prediction process step (PP7), well efficiency ( T) ), and the monthly capacity
                 values c; (   m) .
                                                   q; (m) = T)C; (m )PrOpDay( w,m)                             (S2.30)


                 Final Monthly Total Flow Check (PP9)
                       The predicted total monthly flow produced by all wells, Q; ( m) is estimated by inserting
                 the revised adjusted monthly predicted flow values q; ( m), which are calculated in Equa-
                 tion S2.30, into Equation S2.27. These monthly total flows are then compared with WTP
                 monthly raw-water volume data using Equation S2.28. As a final check of the prediction process
                 (Figure S2.4), it is observed that LiQm ( m) values obtained by applying Equation S2.28 are zero
                 for all calendar months during the prediction period.



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  Results and Discussion - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


  Results and Discussion                                                        whereas larger changes in value for the top line are indica-
                                                                                tive of significant water-distribution system modifications.
        In this study, the aforementioned methodologies for the                 The following example is noteworthy. The top line in
  TP and PP were applied to the HBWTP and HPWTP and the                         Figure S2.5 indicates a sudden and significant increase in
  wells that supplied them with raw water. Because the supply                   the maximum produced water volume by all operating wells
  wells associated with each WTP were analyzed separately                       from 75 to 175 Mgal during 1987. This 100-Mgal increase
  (Figure S2.2), results for each WTP service area are presented                in the volume of water produced by the wells is explained by
  and discussed separately in the following sections. In report                 analyzing the data shown in Figure S2.2. For the Holcomb
  sections that follow, results for three groups of analyses are                Boulevard service area prior to 1987, there were eight
  presented and discussed: (1) comparisons are provided for                     operating water-supply wells (HP-643, HP-644, HP-645,
  the total raw-water volume delivered to the WTPs and the                      HP-646, HP-647, HP-648, HP-649, and HP-650). After 1987,
  maximum volume that can be produced by their associated                       the number of operating wells more than doubles to 17,
  wells; (2) the number of operating days for individual wells                  thereby accounting for the sudden and significant increase of
  are analyzed; and (3) volumes of water produced by individual                 100 Mgal (133 percent increase) in water volume production.
  wells that will be needed for input data to groundwater flow                        Monthly operating schedules for each well providing raw
  and contaminant fate and transport models are presented.                      water to the HBWTP (Figure S2.2), estimated as operating
  Illustrations showing volumes of water produced by individual                 days for each calendar month, are shown in Figures S2.6-
  wells and delivered to the WTPs are discussed in Supplement                   S2.29 .10 In these figures, the top line shows the number of days
  2 sections that follow for complete periods of record for each                in a calendar month (28, 29, 30, or 31) for the time period
  WTP. 8 Results for each water-supply well-derived using                       June 1972-June 2008, as indicated on the horizontal axis.
  the original methodologies previously described-are part of                   Similar to Figure S2.5, the top line is a reasonable limit for the
  the data input file required for groundwater-flow modeling                    estimated number of operating days for each of the Holcomb
  (Suarez-Soto et al. 2013). 9 The TP calculated values are for the             Boulevard wells. The small fluctuations in the top line
  period January 1998-June 2008, and the PP calculated values                   represent the varying number of days for each calendar month
  are for the historical period prior to January 1998, which for                (28, 29, 30, or 31). The bottom lines in the graphs (blue and/
  some wells begins as early as July 1942 (Figure S2.2).                        or green lines) indicate the estimated monthly operating days
                                                                                of a well during the training period (January 1998-June 2008)
                                                                                and during the prediction period (prior to January 1998). 11 The
  Holcomb Boulevard Water-Supply Wells                                          blue and green lines in the lower portions of Figures S2.6-
                                                                                S2.29 are defined for times when a well is in service, as
        Figure S2.5 shows a graph representing total monthly                    shown in Figure S2.2. If a well is operating solely during the
  raw-water volume delivered to the HBWTP (Figure S2. l) and                    training period (January 1998-June 2008), then the graph
  maximum monthly total water volume that can be produced by                    for that specific well only has a blue line in the bottom part
  all operating wells. Monthly WTP raw-water volume (indi-                      of the figure (e.g., well HP-557, Figure S2.6). Likewise, ifa
  cated by the bottom line in Figure S2.5) also represents the                  well is operating solely during the prediction period (prior to
  total estimated monthly flow produced by all operating wells                  January 1998), then the graph for that specific well only has a
  as a result of the conditions imposed that guarantee equality                 green line in the bottom part of the figure (e.g., well HP-645,
  between WTP flow-measurement data and total estimated                         Figure S2.14); this indicates that one of the surrogate wells
  flow produced by all operating wells. The maximum water                       listed in Table S2.2 is assigned to that specific well (e.g.,
  volume that can be produced by all operating wells-assuming                   HP-644) for the prediction of operating days in a month. For
  that they operate for an entire month at full capacity-is                     some wells, the estimated number of monthly operating days
  represented in Figure S2.5 by the top line. This top line also                is equal to the number of days for a specific calendar month
  represents the limit for WTP raw-water measurement data                       (e.g., for HP-557, shown in Figure S2.6, this occurs for the
  because the WTP data do not exceed values indicated by this                   months of July, August, and September 2006). The data and
  line. The small fluctuations in the top line                                  results for these specific months demonstrate that initially the
  of Figure S2.5 are a consequence of the varying numbers                       well (e.g., HP-557) was estimated to have an adjusted number
  of total days for calendar months (28, 29, 30, or 31 days),                   of operating days that exceeded the number of calendar days
                                                                                in the aforementioned months. This issue was resolved in the


                                                                                  10
    'Period ofrecord: HPWTP, July 1942-June 2008; HBWTP, June 1972-                    Figures S2.6-S2.29 are located in the back of this Supplement 2 section.
  June 2008.                                                                      11
                                                                                     For wells that were operating solely during the training period
    9
      Reconstructed monthly raw-water volumes (expressed in terms of a daily    (e.g., HP-557), there is only one line shown in the bottom graph (e.g., blue
  rate) for each of the 24 Holcomb Boulevard and 72 Hadnot Point water-supply   line in Figure S2.6). For wells that were operating solely during the prediction
  wells are provided on the compact disc, read-only memory (CD-ROM) media       period (e.g., HP-645), there is only one line shown in the bottom graph
  located in the back pocket of the Chapter A report.                           (e.g., green line in Figure S2.14).




  S2.16                Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
                   Holcomb Boulevard Water Treatment Plants and Vicinities, U.S. Marine Corps Base Camp Lejeune, North Carolina
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                                    - - Maximum volume that can be
                                         produced by all operating wells
                       200          - - WTP raw-water volume


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                             Jan.          Jan.           Jan.             Jan.    Jan.           Jan.         Jan.         Jan.        Jan.
                         1970              1975           1980             1985    1990           1995         2000        2005         2010
                                                                                  DATE

                              Figure S2.5. Monthly water treatment plant (WTP) raw-water volume data and maximum water volume
                              that can be produced by all operating wells in the Holcomb Boulevard service area, Hadnot Point-Holcomb
                              Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina, June 1972-July 2008.




    "Adjusted Number of Operating Days in a Month Revised"                                the water-volume values can never exceed the values
    step of the training process (TP8, Figure S2.3).                                      represented by the top line. The lines on the graphs of
          Figures S2.30-S2.53 12 show estimated monthly water                             Figures S2.30-S2.53 are defined solely for the time when
    volumes produced by individual wells supplying raw water                              a specific well is operational (Figure S2.2). Where the top
    to the HBWTP. In these illustrations, the top line indicates                          and bottom lines coincide (e.g., for well HP-557 during the
    the reasonable limit for the estimated monthly water volume                           months of July, August, and September 2006, Figure S2.30),
    produced by individual wells. The small fluctuations in the top                       this demonstrates that the well was initially estimated to have
    line of Figures S2.30-S2.53 are a consequence of the varying                          an adjusted number of operating days that exceeded the number
    number of days for each calendar month (28, 29, 30, or 31),                           of calendar days in the aforementioned months. This issue
    thereby resulting in varying maximum volumes produced                                 was resolved in the "Adjusted Number of Operating Days in a
    using a constant well capacity. Large changes in the top                              Month Revised" step of the training process (TP8, Figure S2.3).
    line are indicative of well capacity changing during a                                      The estimated monthly flow production for specific wells
    specific month.                                                                       (bottom lines, Figures S2.30-S2.53) is the final output of this
          The bottom lines in Figures S2.30-S2.53 indicate the                            analysis. This information will be needed for input data to
    estimated monthly flow produced by a well during the training                         groundwater-flow and contaminant fate and transport models,
    period (blue line, January 1998-June 2008) and during the                             which are discussed in other supplements of the Chapter A
    prediction period (green line, prior to January 1998). Thus,                          report of the HPHB report series (Maslia et al. 2013).




      12
           Figures S2.30-S2.53 are located in the back of this Supplement 2 section.




   Chapter A-Supplement 2: Development and Application of a Methodology to                                                                         S2.17
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  Results and Discussion - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

  Hadnot Point Water-Supply Wells                                                     if a well is operating solely during the prediction period
                                                                                      (prior to January 1998), then the graph for that specific
        Figure S2.54 shows graphs representing total monthly                          well only has a green line in the bottom part of the figure
  raw-water volume delivered to the HPWTP (Figure S2.1) and                           (e.g., well HP-601, Figure S2.58); this indicates that one of the
  maximum monthly total water volume that can be produced by                          surrogate wells listed in Table S2.2 is assigned to that specific
  all operating wells. Monthly WTP raw-water volume (indi-                            well (e.g., HP-606) for the prediction of operating days in
  cated by the bottom line in Figure S2.54) also represents the                       a month. For some wells, the estimated number of monthly
  total estimated monthly flow produced by all operating wells                        operating days is equal to the number of days for a specific
  as a result of the conditions imposed that guarantee equality                       calendar month (e.g., for HP-602, shown in Figure S2.59, this
  between WTP flow-measurement data and total estimated                               occurs for the months ofNovember 1941, November 1951,
  flow produced by all operating wells. The maximum water                             November 1952, and January 1953). The data and results for
  volume that can be produced by all operating wells-assuming                         these specific months demonstrate that the well (e.g., HP-602)
  that they operate for an entire month at full capacity-is                           was initially estimated to have an adjusted number of
  represented in Figure S2.54 by the top line. This top line also                     operating days that exceeded the number of calendar days in
  represents the limit for WTP raw-water measurement data                             the aforementioned months. This issue was resolved in the
  because the WTP data do not exceed values indicated by this                         "Adjusted Number of Operating Days in a Month Revised"
  line. The small fluctuations in the top line of Figure S2.54                        step of the training process (TP8, Figure S2.3).
  are a consequence of the varying numbers of total days for                                Figures S2.127-S2.198 show estimated monthly water
  calendar months (28, 29, 30, or 31 days), whereas larger                            volumes produced by individual wells supplying raw water
  changes in value for the top line are indicative of significant                     to the HPWTP. 14 In these illustrations, the top line indicates
  water-distribution system modifications. The following                              the reasonable limit for the estimated monthly water volume
  example is noteworthy. The top line in Figure S2.54 indicates                       produced by individual wells. The small fluctuations in
  a sudden and significant increase in the maximum produced                           the top line of Figures S2.127-S2.198 are a consequence
  water volume by all operating wells from 155 to 213 Mgal                            of the varying number of days for each calendar month
  during January 1943. This 58-Mgal increase in the volume of                         (28, 29, 30, or 31), thereby resulting in varying maximum
  water produced by the wells is explained by analyzing the data                      volumes produced using a constant well capacity. Large
  shown in Figure S2.2. For the Hadnot Point service area prior                       changes in the top line are indicative of well capacity
  to January 1943, there were 15 operating water-supply wells                         changing during a specific month.
  (Figure S2.2). After January 1943, the number of operating                                The bottom lines in Figures S2.127-S2.198 (i.e., blue
  wells increased to 21, thereby accounting for the sudden                            and green lines, depending on the specific well) indicate the
  and significant increase of58 Mgal (37 percent increase) in                         estimated monthly flow produced by a well during the training
  water-volume production.                                                            period (blue line, January 1998-June 2008) and during the
        Monthly operating schedules for each well providing raw                       prediction period (green line, prior to January 1998). Thus, the
  water to the HPWTP (Figure S2.2), estimated as operating                            water-volume values can never exceed the values represented
  days for each calendar month, are shown in Figures S2.55-                           by the top line. The lines on the graphs of Figures S2.127-
  S2.126. 13 In these figures, the top line shows the number                          S2.198 are defined solely for the time when a specific well is
  of days in a calendar month (28, 29, 30, or 31) for the time                        operational (Figure S2.2). When the top and bottom lines coin-
  period June 1972-June 2008, as indicated on the horizontal                          cide (e.g., for well HP-602 during the months of November
  axis. Similar to Figure S2.54, the top line is a reasonable                         1941, November 1951, November 1952, and January 1953,
  limit for the estimated number of operating days for each of                        Figure S2.59), this demonstrates that the well was initially
  the Hadnot Point wells. The small fluctuations in the top line                      estimated to have an adjusted number of operating days that
  represent the varying number of days for each calendar month                        exceeded the number of calendar days in the aforementioned
  (28, 29, 30, or 31). The bottom lines in the graphs (blue and/                      months. This issue was resolved in the "Adjusted Number
  or green lines) indicate the estimated monthly operating days                       of Operating Days in a Month Revised" step of the training
  of a well during the training period (January 1998-June 2008)                       process (TP8, Figure S2.3).
  and during the prediction period (prior to January 1998). The                             The estimated monthly flow production for specific wells
  blue and green lines in the lower portions of Figures S2.55-                        (bottom lines, Figures S2.127-S2.198) is the final output of
  S2.126 are defined for times when a well is in service, as                          this analysis. This information will be needed for input data to
  shown in Figure S2.2. If a well is operating solely during the                      groundwater-flow and contaminant fate and transport models,
  training period (January 1998-June 2008), then the graph                            which are discussed in other supplements of the Chapter A
  for that specific well only has a blue line in the bottom part                      report of the HPHB report series (Maslia et al. 2013).
  of the figure (e.g., well HP-585, Figure S2.55). Likewise,

    13                                                                                  14
         Figures S2.55-S2.126 are located in the back of this Supplement 2 section.          Figures S2.127-S2.198 are located in the back of this Supplement 2 section.




  S2.18                   Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
                      Holcomb Boulevard Water Treatment Plants and Vicinities, U.S. Marine Corps Base Camp Lejeune, North Carolina
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                                - - Maximum volume that can be
                                     produced by all operating wells
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                                - - WTP raw-water volume




                         Jan.            Jan.             Jan.         Jan.          Jan.          Jan.           Jan.          Jan.
                         1940           1950              1960         1970          1980          1990           2000          2010
                                                                              DATE

                          Figure S2.54. Monthly water treatment plant (WTP) raw-water volume data and maximum water volume
                          that can be produced by all operating wells in the Hadnot Point service area, Hadnot Point-Holcomb
                          Boulevard study area, U.S. Marine Corps Base Camp Lejeune, North Carolina, July 1942-July 2008.



    Sensitivity, Uncertainty, and Variability                                    fate and transport, and water-distribution system modeling,
                                                                                 conducting an uncertainty or sensitivity analysis for a single
          As with any study relying on field data and modeling                   parameter in isolation or in absence of a multitude of other
    analyses, sensitivity, uncertainty, and variability are inherent             parameters would not yield meaningful or useful results in
    characteristics that need to be addressed. Sensitivity can be                terms of the goals for the overall study (historical reconstruc-
    defined in a general sense as assessing the effect of varying                tion of monthly finished-water concentrations). Additionally,
    model input parameters and determining their effect on model                 as discussed in Maslia et al (2009), certain parameter values
    output parameters. By definition, uncertainty pertains to a lack             assessed during an uncertainty analysis may result in physically
    of knowledge with respect to a model or parameter (e.g., well                implausible solutions at the next step. Because of these factors,
    capacity); variability refers to differences or diversity in a               it has been decided that a more useful and insightful approach
    model or parameter (e.g., differences in operational schedules               for conducting uncertainty and sensitivity analyses with respect
    for a specific water-supply well). In this study of water-supply             to historical water-supply well operations is to allow this
    well operations, uncertainties about specific on-off cycling                 parameter (water-supply well operation) to vary in concert with
    times and data related to water-supply well characteristics,                 additional modeling parameters during subsequent ground-
    such as changes in capacity over time, are acknowledged.                     water-flow and contaminant fate and transport modeling phases
    Thus, the issue is how and when to include an analysis for                   of the historical reconstruction analysis. During these phases,
    uncertainty and variability and how sensitive model output                   sensitivity and uncertainty analyses are conducted as part of the
    parameters (e.g., finished-water concentrations) are to varia-               historical reconstruction process (Maslia et al. 2013). Thus, the
    tions in water-supply well operations. Based on historical                   most important concept to consider is the effect of sensitivity
    reconstruction analyses conducted for the Tarawa Terrace study               and uncertainty of numerous parameters on the historical
    area, water-supply well pumping is but one of a number of data               drinking-water concentrations and not the analysis of senstivity
    and modeling parameters that need to be assessed for sensi-                  and uncertainty of solely one parameter (e.g., water-supply
    tivity, uncertainty, and variability (Maslia et al. 2009). Because           well operations). For summaries of sensitivity and uncertainty
    the data generated for this supplement (i.e., well operations)               analyses, readers should refer to the appropriate sections in the
    will be used as input data for groundwater-flow, contaminant                 Chapter A report (Maslia et al. 2013).


   Chapter A-Supplement 2: Development and Application of a Methodology to                                                                 S2.19
   Characterize Present-Day and Historical Water-Supply Well Operations
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  Conclusions - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


  Conclusions                                                          capacity and demand data, and (3) proximity of the surrogate
                                                                       well to the well it replaced. Because the majority of the
                                                                       wells operating during the training period were trainable,
        In this analysis of present-day (1998-2008) and                the surrogate well assumption did not introduce a limiting
  historical (1942-1997) water-supply well operations, an              restriction to the methodology described herein. The training
  original methodology is developed and applied to estimate            process was based on the principle of satisfying the total
  the historical monthly operating patterns of wells supplying         volume of water delivered to the WTP during the training
  groundwater (raw water) to the HBWTP and HPWTP. This                 period. In the prediction period, the monthly operational
  information is required by ATSDR for its water-modeling              pattern was assumed to be similar to that of the training period
  analyses of groundwater flow and contaminant fate and                for identical calendar months. The same principle used in the
  transport. The model simulations are being used by ATSDR             training process-satisfying the total volume of water supplied
  to reconstruct contaminant concentrations in finished water          to the WTP-was used to predict historical well operational
  as part of the agency's health studies at Camp Lejeune. The          patterns during the prediction period. The results indicate
  methodology described in this supplement of Chapter A is             that the outcomes of the estimation methodology are within
  based on using available data with maximmn efficiency and            acceptable limits when estimated monthly operating days
  effectiveness to estimate the monthly operational patterns           and the number of calendar days in a month are considered.
  of the wells. The period spanning January 1998-June 2008,            Similarly, estimated flows produced by the wells do not
  when detailed daily data are available, is referred to as the        exceed the maximum flow that can be produced by those
  present-day period or "training period." The period of time          same wells. In some cases, the produced flows are estimated
  prior to January 1998, during which little or no data pertaining     to be equal to the maximum producible flow. However, these
  to the operating schedules of the wells are available, is referred   limiting estimates do not introduce substantial restrictions on
  to as the historical reconstruction period or "prediction            the reliability of the methodology because these cases occur
  period." The methodology estimates the historical monthly            in a small number of months for a small number of wells.
  operational pattern of wells based on the assumption that the        Using the methodology described herein, available data are
  operational patterns that characterize the prediction period         used effectively to estimate historical operational schedules of
  are based on the same operational patterns observed during           water-supply wells serving the HBWTP and HPWTP. Results
  the training period. Wells that were not operational during the      of the analyses presented herein were used in groundwater-
  training period (or for which data were not available) were          flow and contaminant fate and transport simulations to
  assigned "surrogate wells" based on (1) geohydrologic and            reconstruct historical contaminant concentrations in finished
  hydro geologic characteristics of the surrounding aquifers           water that was supplied by the HPWTP to USMCB Camp
  and water-bearing zones, (2) well characteristics such as            Lejeune family housing areas and other facilities.




  S2.20              Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
                 Holcomb Boulevard Water Treatment Plants and Vicinities, U.S. Marine Corps Base Camp Lejeune, North Carolina
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    References 15                                                            Maslia ML, Suarez-Soto RJ, Sautner JB, Anderson BA,
                                                                              Jones LE, Faye RE, Aral MM, Guan J, W. Jang, Telci IT,
    CLHDW CDR, Camp Lejeune Historic Drinking Water                           Grayman WM, Bove FJ, Ruckart PZ, and Moore, SM.
      Consolidated Document Repository, 1199-10257 (not                       Analyses and Historical Reconstruction of Groundwater
     consecutively numbered), provided on electronic media                    Flow, Contaminant Fate and Transport, and Distribution
     to ATSDR, For Official Use Only (FOUO) documents,                        of Drinking Water within the Service Areas of the Hadnot
     U.S. Marine Corps Base Camp Lejeune, Environmental                       Point and Holcomb Boulevard Water Treatment Plants and
     Management Division, March 2011.                                         Vicinities, U.S. Marine Corps Base Camp Lejeune, North
                                                                              Carolina-Chapter A: Summary and Findings. Atlanta, GA:
    CLW, Camp Lejeune Water Documents, 0001-8761 (not                         Agency for Toxic Substances and Disease Registry; 2013.
      consecutively available), provided on DVD format.                      Maslia ML, Suarez-Soto RJ, Wang J, Aral MM, Faye RE,
      In: Maslia ML, Sautner JB, Faye RE, Suarez-Soto RJ,                     Sautner JB, Valenzuela C, and Grayman WM. Analyses of
      Aral MM, Grayman WM, Jang W, Wang J, Bove FJ,                           Groundwater Flow, Contaminant Fate and Transport, and
      Ruckart PZ, Valenzuela C, Green JW Jr, and Krueger AL.                  Distribution of Drinking Water at Tarawa Terrace and
      Analyses of Groundwater Flow, Contaminant Fate and                      Vicinity, U.S. Marine Corps Base Camp Lejeune, North
      Transport, and Distribution of Drinking Water at Tarawa                 Carolina: Historical Reconstruction and Present-Day
      Terrace and Vicinity, U.S. Marine Corps Base Camp                       Conditions-Chapter I: Parameter Sensitivity, Uncertainty,
      Lejeune, North Carolina: Historical Reconstruction and                  and Variability Associated with Model Simulations of
      Present-Day Conditions-Chapter A: Summary of Findings.                  Groundwater Flow, Contaminant Fate and Transport, and
      Atlanta, GA: Agency for Toxic Substances and Disease                    Distribution of Drinking Water. Atlanta, GA: Agency for
      Registry; 2007.                                                         Toxic Substances and Disease Registry; 2009.
    Jones LE, Suarez-Soto RJ, Anderson BA, and Faye RE.                      Sautner JB, Anderson BA, Suarez-Soto RJ, and Maslia ML.
      Characterization and Simulation of Fate and Transport of                 Descriptions and Characterizations of Data Pertinent to
      Selected Volatile Organic Compounds in the Vicinities                    Water-Supply Well Capacities, Histories, and Operations-
      of the Hadnot Point Industrial Area and Landfill-                        Supplement 1. In: Maslia ML, Suarez-Soto RJ, Sautner JB,
      Supplement 6. In: Maslia ML, Suarez-Soto RJ, Sautner                     Anderson BA, Jones LE, Faye RE, Aral MM, Guan J,
      JB, Anderson BA, Jones LE, Faye RE, Aral MM, Guan                        Jang W, Telci IT, Grayman WM, Bove FJ, Ruckart PZ,
      J, Jang W, Telci IT, Grayman WM, Bove FJ, Ruckart PZ,                    and Moore SM. Analyses and Historical Reconstruction of
      and Moore SM. Analyses and Historical Reconstruction                     Groundwater Flow, Contaminant Fate and Transport, and
      of Groundwater Flow, Contaminant Fate and Transport,                     Distribution of Drinking Water Within the Service Areas of the
      and Distribution of Drinking Water Within the Service                    Hadnot Point and Holcomb Boulevard Water Treatment Plants
      Areas of the Hadnot Point and Holcomb Boulevard Water                    and Vicinities, U.S. Marine Corps Base Camp Lejeune, North
      Treatment Plants and Vicinities, U.S. Marine Corps Base                  Carolina-Chapter A: Summary and Findings. Atlanta, GA:
      Camp Lejeune, North Carolina-Chapter A: Summary and                      Agency for Toxic Substances and Disease Registry; 2013.
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      Disease Registry; 2013.                                                  Groundwater Flow-Supplement 4. In: Maslia ML,
    Maslia ML, Sautner JB, Faye RE, Suarez-Soto RJ, Aral MM,                   Suarez-Soto RJ, Sautner JB, Anderson BA, Jones LE,
     Grayman WM, Jang W, Wang J, Bove FJ, Ruckart PZ,                          Faye RE, Aral MM, Guan J, Jang W, Telci IT, Grayman WM,
     Valenzuela C, Green JW Jr, and Krueger AL. Analyses                       Bove FJ, Ruckart PZ, and Moore SM. Analyses and
     of Groundwater Flow, Contaminant Fate and Transport,                      Historical Reconstruction of Groundwater Flow,
     and Distribution of Drinking Water at Tarawa Terrace and                  Contaminant Fate and Transport, and Distribution of
     Vicinity, U.S. Marine Corps Base Camp Lejeune, North                      Drinking Water Within the Service Areas of the Hadnot
     Carolina: Historical Reconstruction and Present-Day                       Point and Holcomb Boulevard Water Treatment Plants and
     Conditions-Chapter A: Summary of Findings. Atlanta, GA:                   Vicinities, U.S. Marine Corps Base Camp Lejeune, North
     Agency for Toxic Substances and Disease Registry; 2007.                   Carolina-Chapter A: Summary and Findings. Atlanta, GA:
                                                                               Agencyfor Toxic Substances and Disease Registry; 2013.
                                                                             Wang J, and Aral MM. Analyses of Groundwater Flow,
                                                                              Contaminant Fate and Transport, and Distribution of
                                                                              Drinking Water at Tarawa Terrace and Vicinity, U.S. Marine
                                                                              Corps Base Camp Lejeune, North Carolina: Historical
                                                                              Reconstruction and Present-Day Conditions-Chapter H:
       15
          Certain documents have been provided to ATS DR by the Department    Effect of Groundwater Pumping Schedule Variation on
    of the Navy (Headquarters Marine Corps, Eastern Area Counsel Office,
                                                                              Arrival ofTetrachloroethylene (PCE) at Water-Supply Wells
    and Marine Corps Base Camp Lejeune) under terms of"For Official Use
    Only" (FOUO) documents. Some of these documents are not releasable by     and the Water Treatment Plant. Atlanta, GA: Agency for
    ATSDR under the terms ofFOUO.                                             Toxic Substances and Disease Registry; 2008.

   Chapter A-Supplement 2: Development and Application of a Methodology to                                                            S2.21
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  S2.22        Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
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              Figures S2.6-S2.29. Estimated Monthly Operating Days
              for Holcomb Boulevard Wells


              For operational chronology of all water-supply wells see Figure S2.2 in text.




              S2.6.    Well HP-557 .................................................................. S2.24
              S2.7.    Well HP-558 .................................................................. S2.24
              S2.8.    Well HP-584 .................................................................. S2.25
              S2.9.    Well HP-617 ,,cv,,, ...........,.............,.............,.............,..... S2.25
              S2.10.   Well HP-618             ...................................................... S2.26
              S2.11.   Well HP-619 (new) ...................................................... S2.26
              S2.12.   Well HP-643 .................................................................. S2.27
              S2.13.   Well HP-644 .................................................................. S2.27
              S2.14.   Well HP-645 .................................................................. S2.28
              S2.15.   Well HP-646 .................................................................. S2.28
              S2.16.   Well HP-647 .................................................................. S2.29
              S2.17.   Well HP-648 .................................................................. S2.29
              S2.18.   Well HP-649 .................................................................. S2.30
              S2.19.   Well HP-650 .................................................................. S2.30
              S2.20.   Well HP-698 .................................................................. S2.31
              S2.21.   Well HP-699 .................................................................. S2.31
              S2.22.   Well HP-700 .................................................................. S2.32
              S2.23.   Well HP-701 .................................................................. S2.32
              S2.24.   Well HP-703 .................................................................. S2.33
              S2.25.   Well HP-704 .................................................................. S2.33
              S2.26.   Well HP-705 .................................................................. S2.34
              S2.27.   Well HP-706 .................................................................. S2.34
              S2.28.   Well HP-707 .................................................................. S2.35
              S2.29.   Well HP-708 .................................................................. S2.35




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  Figures S2.6-S2.29. Estimated Monthly Operating Days for Holcomb Boulevard Wells - - - - - - - - - - - - - -


                    40

                                                                                      -     Total number of days in a month
                                                                                            Operating days in a month
                    35
                                                                                      -         Training period



                    30



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                    Jan. 1970     Jan. 1975    Jan. 1980    Jan. 1985   Jan. 1990   Jan. 1995        Jan. 2000    Jan. 2005   Jan. 2010
                                                                         DATE
                         Figure S2.6.    Estimated monthly operating days for well HP-557.



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                                                                                      -     Total number of days in a month
                                                                                            Operating days in a month
                    35
                                                                                      -         Training period



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                    Jan. 1970     Jan. 1975    Jan. 1980    Jan. 1985   Jan. 1990   Jan. 1995        Jan. 2000    Jan. 2005   Jan. 2010
                                                                         DATE
                         Figure S2.7.    Estimated monthly operating days for well HP-558.



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    - - - - - - - - - - - - - - Figures S2.6-S2.29. Estimated Monthly Operating Days for Holcomb Boulevard Wells


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                                                                                      -     Total number of days in a month
                                                                                            Operating days in a month
                    35
                                                                                      -         Training period



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                    Jan. 1970     Jan. 1975    Jan. 1980    Jan. 1985   Jan. 1990   Jan. 1995        Jan. 2000      Jan. 2005   Jan. 2010
                                                                         DATE
                         Figure S2.8.    Estimated monthly operating days for well HP-584.



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                                                                                      -     Total number of days in a month
                                                                                            Operating days in a month
                    35
                                                                                                Prediction period
                                                                                      -         Training period

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                    Jan. 1970     Jan. 1975    Jan. 1980    Jan. 1985   Jan. 1990   Jan. 1995        Jan. 2000      Jan. 2005   Jan. 2010
                                                                         DATE
                         Figure S2.9.    Estimated monthly operating days for well HP-617 (new).



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  Figures S2.6-S2.29. Estimated Monthly Operating Days for Holcomb Boulevard Wells - - - - - - - - - - - - - -


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                                                                                      -     Total number of days in a month
                                                                                            Operating days in a month
                    35
                                                                                             Prediction period
                                                                                      -      Training period

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                    Jan. 1970     Jan. 1975    Jan. 1980    Jan. 1985   Jan. 1990   Jan. 1995      Jan. 2000      Jan. 2005   Jan. 2010
                                                                         DATE
                         Figure S2.10.    Estimated monthly operating days for well HP-618 (new).



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                                                                                      -     Total number of days in a month
                                                                                            Operating days in a month
                    35
                                                                                             Prediction period
                                                                                      -      Training period

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                    Jan. 1970     Jan. 1975    Jan. 1980    Jan. 1985   Jan. 1990   Jan. 1995      Jan. 2000      Jan. 2005   Jan. 2010
                                                                         DATE
                         Figure S2.11.    Estimated monthly operating days for well HP-619 (new).



  S2.26           Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
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    - - - - - - - - - - - - - - Figures S2.6-S2.29. Estimated Monthly Operating Days for Holcomb Boulevard Wells


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                                                                                     -     Total number of days in a month
                                                                                           Operating days in a month
                    35
                                                                                            Prediction period
                                                                                     -      Training period

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                    Jan. 1970    Jan. 1975    Jan. 1980    Jan. 1985   Jan. 1990   Jan. 1995      Jan. 2000      Jan. 2005   Jan. 2010
                                                                        DATE
                         Figure S2.12.   Estimated monthly operating days for well HP-643.



                    40

                                                                                     -     Total number of days in a month
                                                                                           Operating days in a month
                    35
                                                                                            Prediction period
                                                                                     -      Training period

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                    Jan. 1970    Jan. 1975    Jan. 1980    Jan. 1985   Jan. 1990   Jan. 1995      Jan. 2000      Jan. 2005   Jan. 2010
                                                                        DATE
                         Figure S2.13.   Estimated monthly operating days for well HP-644.



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  Figures S2.6-S2.29. Estimated Monthly Operating Days for Holcomb Boulevard Wells - - - - - - - - - - - - - -


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                                                                                      -     Total number of days in a month
                                                                                            Operating days in a month
                    35
                                                                                      -         Prediction period



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                    Jan. 1970     Jan. 1975    Jan. 1980    Jan. 1985   Jan. 1990   Jan. 1995        Jan. 2000      Jan. 2005   Jan. 2010
                                                                         DATE
                         Figure S2.14.    Estimated monthly operating days for well HP-645.



                    40

                                                                                      -     Total number of days in a month
                                                                                            Operating days in a month
                    35
                                                                                                Prediction period
                                                                                      -         Training period

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                    Jan. 1970     Jan. 1975    Jan. 1980    Jan. 1985   Jan. 1990   Jan. 1995        Jan. 2000      Jan. 2005   Jan. 2010
                                                                         DATE
                         Figure S2.15.    Estimated monthly operating days for well HP-646.



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    - - - - - - - - - - - - - - Figures S2.6-S2.29. Estimated Monthly Operating Days for Holcomb Boulevard Wells


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                                                                                     -     Total number of days in a month
                                                                                           Operating days in a month
                    35
                                                                                            Prediction period
                                                                                     -      Training period

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                    Jan. 1970    Jan. 1975    Jan. 1980    Jan. 1985   Jan. 1990   Jan. 1995      Jan. 2000      Jan. 2005   Jan. 2010
                                                                        DATE
                         Figure S2.16.   Estimated monthly operating days for well HP-647.



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                                                                                     -     Total number of days in a month
                                                                                           Operating days in a month
                    35
                                                                                            Prediction period
                                                                                     -      Training period

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                    Jan. 1970    Jan. 1975    Jan. 1980    Jan. 1985   Jan. 1990   Jan. 1995      Jan. 2000      Jan. 2005   Jan. 2010
                                                                        DATE
                         Figure S2.17.   Estimated monthly operating days for well HP-648.



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  Figures S2.6-S2.29. Estimated Monthly Operating Days for Holcomb Boulevard Wells - - - - - - - - - - - - - -


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                                                                                      -     Total number of days in a month
                                                                                            Operating days in a month
                    35
                                                                                      -         Prediction period



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                    Jan. 1970     Jan. 1975    Jan. 1980    Jan. 1985   Jan. 1990   Jan. 1995        Jan. 2000      Jan. 2005   Jan. 2010
                                                                         DATE
                         Figure S2.18.    Estimated monthly operating days for well HP-649.



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                                                                                      -     Total number of days in a month
                                                                                            Operating days in a month
                    35
                                                                                                Prediction period
                                                                                      -         Training period


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                    Jan. 1970     Jan. 1975    Jan. 1980    Jan. 1985   Jan. 1990   Jan. 1995        Jan. 2000      Jan. 2005   Jan. 2010
                                                                         DATE
                         Figure S2.19.    Estimated monthly operating days for well HP-650.



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                                                                                     -     Total number of days in a month
                                                                                           Operating days in a month
                    35
                                                                                            Prediction period
                                                                                     -      Training period

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                    Jan. 1970    Jan. 1975    Jan. 1980    Jan. 1985   Jan. 1990   Jan. 1995      Jan. 2000      Jan. 2005   Jan. 2010
                                                                        DATE
                         Figure S2.20.   Estimated monthly operating days for well HP-698.



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                                                                                     -     Total number of days in a month
                                                                                           Operating days in a month
                    35
                                                                                            Prediction period
                                                                                     -      Training period

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                    Jan. 1970    Jan. 1975    Jan. 1980    Jan. 1985   Jan. 1990   Jan. 1995      Jan. 2000      Jan. 2005   Jan. 2010
                                                                        DATE
                         Figure S2.21.   Estimated monthly operating days for well HP-699.



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  Figures S2.6-S2.29. Estimated Monthly Operating Days for Holcomb Boulevard Wells - - - - - - - - - - - - - -


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                                                                                      -     Total number of days in a month
                                                                                            Operating days in a month
                    35
                                                                                             Prediction period
                                                                                      -      Training period

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                    Jan. 1970     Jan. 1975    Jan. 1980    Jan. 1985   Jan. 1990   Jan. 1995      Jan. 2000      Jan. 2005   Jan. 2010
                                                                         DATE
                         Figure S2.22.    Estimated monthly operating days for well HP-700.



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                                                                                      -     Total number of days in a month
                                                                                            Operating days in a month
                    35
                                                                                             Prediction period
                                                                                      -      Training period

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                    Jan. 1970     Jan. 1975    Jan. 1980    Jan. 1985   Jan. 1990   Jan. 1995      Jan. 2000      Jan. 2005   Jan. 2010
                                                                         DATE
                         Figure S2.23.    Estimated monthly operating days for well HP-701.



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    - - - - - - - - - - - - - - Figures S2.6-S2.29. Estimated Monthly Operating Days for Holcomb Boulevard Wells


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                                                                                     -     Total number of days in a month
                                                                                           Operating days in a month
                    35
                                                                                            Prediction period
                                                                                     -      Training period

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                    Jan. 1970    Jan. 1975    Jan. 1980    Jan. 1985   Jan. 1990   Jan. 1995      Jan. 2000      Jan. 2005   Jan. 2010
                                                                        DATE
                         Figure S2.24.   Estimated monthly operating days for well HP-703.



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                                                                                     -     Total number of days in a month
                                                                                           Operating days in a month
                    35
                                                                                            Prediction period
                                                                                     -      Training period

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                    Jan. 1970    Jan. 1975    Jan. 1980    Jan. 1985   Jan. 1990   Jan. 1995      Jan. 2000      Jan. 2005   Jan. 2010
                                                                        DATE
                         Figure S2.25.   Estimated monthly operating days for well HP-704.



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  Figures S2.6-S2.29. Estimated Monthly Operating Days for Holcomb Boulevard Wells - - - - - - - - - - - - - -


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                                                                                      -     Total number of days in a month
                                                                                            Operating days in a month
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                                                                                             Prediction period
                                                                                      -      Training period

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                    Jan. 1970     Jan. 1975    Jan. 1980    Jan. 1985   Jan. 1990   Jan. 1995      Jan. 2000      Jan. 2005   Jan. 2010
                                                                         DATE
                         Figure S2.26.    Estimated monthly operating days for well HP-705.



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                                                                                      -     Total number of days in a month
                                                                                            Operating days in a month
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                                                                                             Prediction period
                                                                                      -      Training period

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                    Jan. 1970     Jan. 1975    Jan. 1980    Jan. 1985   Jan. 1990   Jan. 1995      Jan. 2000      Jan. 2005   Jan. 2010
                                                                         DATE
                         Figure S2.27.    Estimated monthly operating days for well HP-706.



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                                                                                     -     Total number of days in a month
                                                                                           Operating days in a month
                    35
                                                                                     -         Prediction period



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                    Jan. 1970    Jan. 1975    Jan. 1980    Jan. 1985   Jan. 1990   Jan. 1995        Jan. 2000      Jan. 2005   Jan. 2010
                                                                        DATE
                         Figure S2.28.   Estimated monthly operating days for well HP-707.



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                                                                                     -     Total number of days in a month
                                                                                           Operating days in a month
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                                                                                               Prediction period
                                                                                     -         Training period

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                    Jan. 1970    Jan. 1975    Jan. 1980    Jan. 1985   Jan. 1990   Jan. 1995        Jan. 2000      Jan. 2005   Jan. 2010
                                                                        DATE
                         Figure S2.29.   Estimated monthly operating days for well HP-708.



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              Figures S2.30-S2.53. Estimated Monthly Water Volume
              Produced at Holcomb Boulevard Wells


              For operational chronology of all water-supply wells see Figure S2.2 in text.




                       showing estimated mon1thlv water volume produced at-

              S2.30.   Well HP-557 .................................................................. S2.38
              S2.31.   Well HP-558 .................................................................. S2.38
              S2.32.   Well HP-584 .................................................................. S2.39
              S2.33.   Well HP-617             ...................................................... S2.39
              S2.34.   Well HP-618             ...................................................... S2.40
              S2.35.   Well HP-619 (new) ...................................................... S2.40
              S2.36.   Well HP-643 .................................................................. S2.41
              S2.37.   Well HP-644 .................................................................. S2.41
              S2.38.   Well HP-645 .................................................................. S2.42
              S2.39.   Well HP-646 .................................................................. S2.42
              S2.40.   Well HP-647 .................................................................. S2.43
              S2.41.   Well HP-648 .................................................................. S2.43
              S2.42.   Well HP-649 .................................................................. S2.44
              S2.43.   Well HP-650 .................................................................. S2.44
              S2.44.   Well HP-698 .................................................................. S2.45
              S2.45.   Well HP-699 .................................................................. S2.45
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              S2.47.   Well HP-701 .................................................................. S2.46
              S2.48.   Well HP-703 .................................................................. S2.47
              S2.49.   Well HP-704 .................................................................. S2.47
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              S2.52.   Well HP-707 .................................................................. S2.49
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  Figures S2.30-S2.53. Estimated Monthly Water Volume Produced at Holcomb Boulevard Wells - - - - - - - - - - - -


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                                                                                       -     Maximum volume that can be
                                                                                               produced in a month
                                                                                             Flow produced in a month
                      25                                                               -      Training period




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                           Figure S2.30.    Estimated monthly water volume produced at well HP-557.



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                                                                                       -     Maximum volume that can be
                                                                                               produced in a month
                                                                                             Flow produced in a month
                      25                                                               -      Training period




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                           Figure S2.31.    Estimated monthly water volume produced at well HP-558.



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    - - - - - - - - - - - Figures S2.30-S2.53. Estimated Monthly Water Volume Produced at Holcomb Boulevard Wells


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                                                                                      -     Maximum volume that can be
                                                                                              produced in a month
                                                                                            Flow produced in a month
                      25                                                              -      Training period




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                                                                         DATE
                           Figure S2.32.   Estimated monthly water volume produced at well HP-584.



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                                                                                      -     Maximum volume that can be
                                                                                              produced in a month
                                                                                            Flow produced in a month
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                                                                                      -      Training period


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                      Jan. 1970    Jan. 1975   Jan. 1980    Jan. 1985   Jan. 1990   Jan. 1995     Jan. 2000      Jan. 2005   Jan. 2010
                                                                         DATE
                           Figure S2.33.   Estimated monthly water volume produced at well HP-617 (new).



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  Figures S2.30-S2.53. Estimated Monthly Water Volume Produced at Holcomb Boulevard Wells - - - - - - - - - - - -


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                                                                                       -     Maximum volume that can be
                                                                                               produced in a month
                                                                                             Flow produced in a month
                      25                                                                       Prediction period
                                                                                       -      Training period


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                      Jan. 1970     Jan. 1975   Jan. 1980    Jan. 1985   Jan. 1990   Jan. 1995     Jan. 2000      Jan. 2005   Jan. 2010
                                                                          DATE
                           Figure S2.34.    Estimated monthly water volume produced at well HP-618 (new).



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                                                                                       -     Maximum volume that can be
                                                                                               produced in a month
                                                                                             Flow produced in a month
                      25                                                                       Prediction period
                                                                                       -      Training period


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                      Jan. 1970     Jan. 1975   Jan. 1980    Jan. 1985   Jan. 1990   Jan. 1995     Jan. 2000      Jan. 2005   Jan. 2010
                                                                          DATE
                           Figure S2.35.    Estimated monthly water volume produced at well HP-619 (new).



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    - - - - - - - - - - - Figures S2.30-S2.53. Estimated Monthly Water Volume Produced at Holcomb Boulevard Wells


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                                                                                      -     Maximum volume that can be
                                                                                              produced in a month
                                                                                            Flow produced in a month
                      25                                                                      Prediction period
                                                                                      -      Training period


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                      Jan. 1970    Jan. 1975   Jan. 1980    Jan. 1985   Jan. 1990   Jan. 1995     Jan. 2000      Jan. 2005   Jan. 2010
                                                                         DATE
                           Figure S2.36.   Estimated monthly water volume produced at well HP-643.



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                                                                                      -     Maximum volume that can be
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                      Jan. 1970    Jan. 1975   Jan. 1980    Jan. 1985   Jan. 1990   Jan. 1995     Jan. 2000      Jan. 2005   Jan. 2010
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                           Figure S2.37.   Estimated monthly water volume produced at well HP-644.



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  Figures S2.30-S2.53. Estimated Monthly Water Volume Produced at Holcomb Boulevard Wells - - - - - - - - - - - -


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                                                                                       -     Maximum volume that can be
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                                                                                             Flow produced in a month
                      25                                                               -       Prediction period




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                           Figure S2.38.    Estimated monthly water volume produced at well HP-645.



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                                                                                       -     Maximum volume that can be
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                                                                                             Flow produced in a month
                      25                                                                       Prediction period
                                                                                       -      Training period


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                                                                          DATE
                           Figure S2.39.    Estimated monthly water volume produced at well HP-646.



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                                                                                      -     Maximum volume that can be
                                                                                              produced in a month
                                                                                            Flow produced in a month
                      25                                                                      Prediction period
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                      Jan. 1970    Jan. 1975   Jan. 1980    Jan. 1985   Jan. 1990   Jan. 1995     Jan. 2000      Jan. 2005   Jan. 2010
                                                                         DATE
                           Figure S2.40.   Estimated monthly water volume produced at well HP-647.



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                                                                                      -     Maximum volume that can be
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                                                                                            Flow produced in a month
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                                                                         DATE
                           Figure S2.41.   Estimated monthly water volume produced at well HP-648.



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  Figures S2.30-S2.53. Estimated Monthly Water Volume Produced at Holcomb Boulevard Wells - - - - - - - - - - - -


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                                                                                       -     Maximum volume that can be
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                           Figure S2.42.    Estimated monthly water volume produced at well HP-649.



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                                                                                       -     Maximum volume that can be
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                                                                          DATE
                           Figure S2.43.    Estimated monthly water volume produced at well HP-650.



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                                                                                      -     Maximum volume that can be
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                                                                                            Flow produced in a month
                      25                                                                      Prediction period
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                           Figure S2.44.   Estimated monthly water volume produced at well HP-698.



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                                                                                      -     Maximum volume that can be
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                           Figure S2.45.   Estimated monthly water volume produced at well HP-699.



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  Figures S2.30-S2.53. Estimated Monthly Water Volume Produced at Holcomb Boulevard Wells - - - - - - - - - - - -


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                                                                                       -     Maximum volume that can be
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                      25                                                                       Prediction period
                                                                                       -      Training period


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                           Figure S2.46.    Estimated monthly water volume produced at well HP-700.



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                                                                                       -     Maximum volume that can be
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                                                                                       -      Training period


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                           Figure S2.47.    Estimated monthly water volume produced at well HP-701.



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                                                                                      -     Maximum volume that can be
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                                                                                            Flow produced in a month
                      25                                                                      Prediction period
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                           Figure S2.48.   Estimated monthly water volume produced at well HP-703.



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                                                                                      -     Maximum volume that can be
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                                                                                            Flow produced in a month
                      25                                                                      Prediction period
                                                                                      -      Training period


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                           Figure S2.49.   Estimated monthly water volume produced at well HP-704.



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  Figures S2.30-S2.53. Estimated Monthly Water Volume Produced at Holcomb Boulevard Wells - - - - - - - - - - - -


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                                                                                       -     Maximum volume that can be
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                                                                          DATE
                           Figure S2.50.    Estimated monthly water volume produced at well HP-705.



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                                                                                       -     Maximum volume that can be
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                                                                                             Flow produced in a month
                      25                                                                       Prediction period
                                                                                       -      Training period


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                      Jan. 1970     Jan. 1975   Jan. 1980    Jan. 1985   Jan. 1990   Jan. 1995     Jan. 2000      Jan. 2005   Jan. 2010
                                                                          DATE
                           Figure S2.51.    Estimated monthly water volume produced at well HP-706.



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    - - - - - - - - - - - Figures S2.30-S2.53. Estimated Monthly Water Volume Produced at Holcomb Boulevard Wells


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                                                                                      -     Maximum volume that can be
                                                                                              produced in a month
                                                                                            Flow produced in a month
                      25                                                              -       Prediction period




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                      Jan. 1970    Jan. 1975   Jan. 1980    Jan. 1985   Jan. 1990   Jan. 1995     Jan. 2000      Jan. 2005   Jan. 2010
                                                                         DATE
                           Figure S2.52.   Estimated monthly water volume produced at well HP-707.



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                                                                                      -     Maximum volume that can be
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                                                                                            Flow produced in a month
                      25                                                                      Prediction period
                                                                                      -      Training period


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                      Jan. 1970    Jan. 1975   Jan. 1980    Jan. 1985   Jan. 1990   Jan. 1995     Jan. 2000      Jan. 2005   Jan. 2010
                                                                         DATE
                           Figure S2.53.   Estimated monthly water volume produced at well HP-708.



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           Figures S2.55-S2.126. Estimated Monthly Operating Days
           for Hadnot Point Wells


            For operational chronology of all water-supply wells see Figure S2.2 in text.

            Graphs showing estimated monthly operating days for-
            S2.55.   Well HP-585 .................................. S2.52   S2.91.    Well HP-628 (new) ..................... S2.70
            S2.56.   Well HP-595 .................................. S2.52   S2.92.    Well HP-628 (old) ....................... S2.70
            S2.57.   Well HP-596 .................................. S2.53   S2.93.    Well HP-629 (new) ..................... S2.71
            S2.58.   Well HP-601 .................................. S2.53   S2.94.    Well HP-629 (old) ....................... S2.71
            S2.59.   Well HP-602 .................................. S2.54   S2.95.    Well HP-630 ................................ S2.72
            S2.60.   Well HP-603 .................................. S2.54   S2.96.    Well HP-631 ................................ 82.72
            S2.61.   Well HP-604 .................................. S2.55   S2.97.    Well HP-632 ................................ 82.73
            S2.62.   Well HP-605 .................................. 82.55   S2.98.    Well HP-633 ................................ 82.73
            S2.63.   Well HP-606 .................................. S2.56   S2.99.    Well HP-634 ................................ 82.74
            S2.64.   Well HP-607 (new) ...................... S2.56         S2.100.   Well HP-635 ................................ 82.74
            S2.65.   Well HP-607 (old) ......................... S2.57      S2.101.   Well HP-636 ................................ S2.75
            S2.66.   Well HP-608 .................................. 52.57   S2.102.   Well HP-637 ................................ S2.75
            S2.67.   Well HP-609 .................................. S2.58   S2.103.   Well HP-638 ................................ S2.76
            S2.68.   Well HP-610 .................................. S2.58   S2.104.   Well HP-639 (new) .................... S2.76
            S2.69.   Well HP-611 (new) ...................... S2.59         S2.105.   Well HP-639 (old) ....................... S2.77
            S2.70.   Well HP-611 (old) ......................... S2.59      S2.106.   Well HP-640 ................................ 52.77
            S2.71.   Well HP-612 (new) ...................... S2.60         S2.107.   Well HP-641 ................................ S2.78
            S2.72.   Well HP-612 (old) ......................... S2.60      S2.108.   Well HP-642 ................................ S2.78
            S2.73.   Well HP-613 .................................. 82.61   S2.109.   Well HP-651 ................................ S2.79
            S2.74.   Well HP-614 (new) . ..................... S2.61        S2.110.   Well HP-652 ................................ S2.79
            S2.75.   Well HP-614 (old) ......................... S2.62      S2.111.   Well HP-653 ................................ S2.80
            S2.76.   Well HP-615 .................................. S2.62   S2.112.   Well HP-654................................ S2.80
            S2.77.   Well HP-616 .................................. S2.63   S2.113.   Well HP-655 ................................ S2.81
            S2.78.   Well HP-617 (old) ......................... S2.63      S2.114.   Well HP-660 ................................ S2.81
            S2.79.   Well HP-618 (old) ......................... S2.64      S2.115.   Well HP-661 ................................ S2.82
            S2.80.   Well HP-619 (old) ......................... S2.64      S2.116.   Well HP-662 ................................ S2.82
            S2.81.   Well HP-620 .................................. 82.65   S2.117.   Well HP-663 ................................ S2.83
            S2.82.   Well HP-621 (new) ...................... S2.65         S2.118.   Well HP-709 ................................ 82.83
            S2.83.   Well HP-621 (old) ......................... S2.66      S2.119.   Well HP-710 ................................ S2.84
            S2.84.   Well HP-622 .................................. 82.66   S2.120.   Well HP-711 ................................ S2.84
            S2.85.   Well HP-623 .................................. S2.67   S2.121.   Well HP-5186 .............................. S2.85
            S2.86.   Well HP-624 .................................. S2.67   S2.122.   Well LCH-4006 ............................ S2.85
            S2.87.   Well HP-625 .................................. S2.68   S2.123.   Well LCH-4007 ............................ S2.86
            S2.88.   Well HP-626 .................................. S2.68   S2.124.   Well LCH-4009 ............................ S2.86
            S2.89.   Well HP-627 {new) ...................... S2.69         S2.125.   Well M-1 ..................................... S2.87
            S2.90.   Well HP-627 (old) ......................... S2.69      S2.126.   Well M-2 ..................................... S2.87




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                                                                                             -   Total number of days in a month
                                                                                                 Operating days in a month
                    35
                                                                                             -    Training period



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                    Jan. 1940      Jan. 1950     Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990         Jan. 2000     Jan. 2010
                                                                          DATE
                         Figure S2.55.   Estimated monthly operating days for well HP-585.



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                                                                                                 Operating days in a month
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                                                                                             -    Training period



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                    Jan. 1940      Jan. 1950     Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990         Jan. 2000     Jan. 2010
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                         Figure S2.56.   Estimated monthly operating days for well HP-595.



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    - - - - - - - - - - - - - - - Figures S2.55-S2.126. Estimated Monthly Operating Days for Hadnot Point Wells


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                                                                                             -   Total number of days in a month
                                                                                                 Operating days in a month
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                                                                                             -    Training period



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                    Jan. 1940      Jan. 1950     Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990         Jan. 2000     Jan. 2010
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                         Figure S2.57.   Estimated monthly operating days for well HP-596.



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                    Jan. 1940      Jan. 1950     Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990         Jan. 2000     Jan. 2010
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                         Figure S2.58.   Estimated monthly operating days for well HP-601.



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  Figures S2.55-S2.126. Estimated Monthly Operating Days for Hadnot Point Wells - - - - - - - - - - - - - - - -


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                                                                                             -   Total number of days in a month
                                                                                                 Operating days in a month
                    35
                                                                                             -    Prediction period



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                    Jan. 1940      Jan. 1950     Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
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                         Figure S2.59.   Estimated monthly operating days for well HP-602.



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                    Jan. 1940      Jan. 1950     Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                          DATE
                         Figure S2.60.   Estimated monthly operating days for well HP-603.



  S2.54           Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
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                                                                                             -   Total number of days in a month
                                                                                                 Operating days in a month
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                                                                                             -    Prediction period



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                    Jan. 1940      Jan. 1950     Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
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                         Figure S2.61.   Estimated monthly operating days for well HP-604.



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                    Jan. 1940      Jan. 1950     Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                          DATE
                         Figure S2.62.   Estimated monthly operating days for well HP-605.



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  Figures S2.55-S2.126. Estimated Monthly Operating Days for Hadnot Point Wells - - - - - - - - - - - - - - - -


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                                                                                             -   Total number of days in a month
                                                                                                 Operating days in a month
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                                                                                                  Prediction period
                                                                                             -    Training period

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                    Jan. 1940      Jan. 1950     Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                          DATE
                         Figure S2.63.   Estimated monthly operating days for well HP-606.



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                                                                                                 Operating days in a month
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                                                                                             -    Prediction period
                                                                                             -    Training period

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                    Jan. 1940      Jan. 1950     Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                          DATE
                         Figure S2.64.   Estimated monthly operating days for well HP-607 (new).



  S2.56           Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
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    - - - - - - - - - - - - - - - Figures S2.55-S2.126. Estimated Monthly Operating Days for Hadnot Point Wells


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                                                                                              -   Total number of days in a month
                                                                                                  Operating days in a month
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                                                                                              -    Prediction period



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                    Jan. 1940      Jan. 1950     Jan. 1960     Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
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                         Figure S2.65.   Estimated monthly operating days for well HP-607 (old).



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                    Jan. 1940      Jan. 1950     Jan. 1960     Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                           DATE
                         Figure S2.66.   Estimated monthly operating days for well HP-608.



   Chapter A-Supplement 2: Development and Application of a Methodology to                                                                      S2.57
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  Figures S2.55-S2.126. Estimated Monthly Operating Days for Hadnot Point Wells - - - - - - - - - - - - - - - -


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                                                                                             -   Total number of days in a month
                                                                                                 Operating days in a month
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                                                                                             -    Prediction period



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                    Jan. 1940      Jan. 1950     Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
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                         Figure S2.67.   Estimated monthly operating days for well HP-609.



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                    Jan. 1940      Jan. 1950     Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                          DATE
                         Figure S2.68.   Estimated monthly operating days for well HP-610.



  S2.58           Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
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                                                                                              -   Total number of days in a month
                                                                                                  Operating days in a month
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                                                                                              -    Training period



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                    Jan. 1940      Jan. 1950     Jan. 1960     Jan. 1970          Jan. 1980         Jan. 1990         Jan. 2000     Jan. 2010
                                                                           DATE
                         Figure S2.69.   Estimated monthly operating days for well HP-611 (new).



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                    Jan. 1940      Jan. 1950     Jan. 1960     Jan. 1970          Jan. 1980         Jan. 1990         Jan. 2000     Jan. 2010
                                                                           DATE
                         Figure S2.70.   Estimated monthly operating days for well HP-611 (old).



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  Figures S2.55-S2.126. Estimated Monthly Operating Days for Hadnot Point Wells - - - - - - - - - - - - - - - -


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                                                                                              -   Total number of days in a month
                                                                                                  Operating days in a month
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                                                                                              -    Training period



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                    Jan. 1940      Jan. 1950     Jan. 1960     Jan. 1970          Jan. 1980         Jan. 1990         Jan. 2000     Jan. 2010
                                                                           DATE
                         Figure S2.71.   Estimated monthly operating days for well HP-612 (new).



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                    Jan. 1940      Jan. 1950     Jan. 1960     Jan. 1970          Jan. 1980         Jan. 1990         Jan. 2000     Jan. 2010
                                                                           DATE
                         Figure S2.72.   Estimated monthly operating days for well HP-612 (old).



  S2.60           Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
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                                                                                             -   Total number of days in a month
                                                                                                 Operating days in a month
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                                                                                                  Prediction period
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                    Jan. 1940      Jan. 1950     Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                          DATE
                         Figure S2.73.   Estimated monthly operating days for well HP-613.



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                    Jan. 1940      Jan. 1950     Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                          DATE
                         Figure S2.74.   Estimated monthly operating days for well HP-614 (new).



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  Figures S2.55-S2.126. Estimated Monthly Operating Days for Hadnot Point Wells - - - - - - - - - - - - - - - -


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                                                                                              -   Total number of days in a month
                                                                                                  Operating days in a month
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                                                                                              -    Prediction period



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                    Jan. 1940      Jan. 1950     Jan. 1960     Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
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                         Figure S2.75.   Estimated monthly operating days for well HP-614 (old).



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                    Jan. 1940      Jan. 1950     Jan. 1960     Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                           DATE
                         Figure S2.76.   Estimated monthly operating days for well HP-615.



  S2.62           Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
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                                                                                              -   Total number of days in a month
                                                                                                  Operating days in a month
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                                                                                                   Prediction period
                                                                                              -    Training period

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                    Jan. 1940      Jan. 1950     Jan. 1960     Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
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                         Figure S2.77.   Estimated monthly operating days for well HP-616.



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                    Jan. 1940      Jan. 1950     Jan. 1960     Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                           DATE
                         Figure S2.78.   Estimated monthly operating days for well HP-617 (old).



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  Figures S2.55-S2.126. Estimated Monthly Operating Days for Hadnot Point Wells - - - - - - - - - - - - - - - -


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                                                                                              -   Total number of days in a month
                                                                                                  Operating days in a month
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                                                                                              -    Prediction period



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                    Jan. 1940      Jan. 1950     Jan. 1960     Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
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                         Figure S2.79.   Estimated monthly operating days for well HP-618 (old).



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                    Jan. 1940      Jan. 1950     Jan. 1960     Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                           DATE
                         Figure S2.80.   Estimated monthly operating days for well HP-619 (old).



  S2.64           Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
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                                                                                             -   Total number of days in a month
                                                                                                 Operating days in a month
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                    Jan. 1940      Jan. 1950     Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
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                         Figure S2.81.   Estimated monthly operating days for well HP-620.



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                    Jan. 1940      Jan. 1950     Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                          DATE
                         Figure S2.82.   Estimated monthly operating days for well HP-621 (new).



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  Figures S2.55-S2.126. Estimated Monthly Operating Days for Hadnot Point Wells - - - - - - - - - - - - - - - -


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                                                                                              -   Total number of days in a month
                                                                                                  Operating days in a month
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                                                                                              -    Prediction period



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                    Jan. 1940      Jan. 1950     Jan. 1960     Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
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                         Figure S2.83.   Estimated monthly operating days for well HP-621 (old).



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                    Jan. 1940      Jan. 1950     Jan. 1960     Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                           DATE
                         Figure S2.84.   Estimated monthly operating days for well HP-622.



  S2.66           Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
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                                                                                             -   Total number of days in a month
                                                                                                 Operating days in a month
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                                                                                                  Prediction period
                                                                                             -    Training period

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                    Jan. 1940      Jan. 1950     Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
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                         Figure S2.85.   Estimated monthly operating days for well HP-623.



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                    Jan. 1940      Jan. 1950     Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                          DATE
                         Figure S2.86.   Estimated monthly operating days for well HP-624.



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  Figures S2.55-S2.126. Estimated Monthly Operating Days for Hadnot Point Wells - - - - - - - - - - - - - - - -


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                                                                                             -   Total number of days in a month
                                                                                                 Operating days in a month
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                                                                                             -    Prediction period



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                    Jan. 1940      Jan. 1950     Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
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                         Figure S2.87.   Estimated monthly operating days for well HP-625.



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                    Jan. 1940      Jan. 1950     Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                          DATE
                         Figure S2.88.   Estimated monthly operating days for well HP-626.



  S2.68           Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
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    - - - - - - - - - - - - - - - Figures S2.55-S2.126. Estimated Monthly Operating Days for Hadnot Point Wells


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                                                                                              -   Total number of days in a month
                                                                                                  Operating days in a month
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                                                                                                   Prediction period
                                                                                              -    Training period

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                    Jan. 1940      Jan. 1950     Jan. 1960     Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
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                         Figure S2.89.   Estimated monthly operating days for well HP-627 (new).



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                    Jan. 1940      Jan. 1950     Jan. 1960     Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
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                         Figure S2.90.   Estimated monthly operating days for well HP-627 (old).



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  Figures S2.55-S2.126. Estimated Monthly Operating Days for Hadnot Point Wells - - - - - - - - - - - - - - - -


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                                                                                              -   Total number of days in a month
                                                                                                  Operating days in a month
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                                                                                              -    Prediction period
                                                                                              -    Training period

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                    Jan. 1940      Jan. 1950     Jan. 1960     Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
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                         Figure S2.91.   Estimated monthly operating days for well HP-628 (new).



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                    Jan. 1940      Jan. 1950     Jan. 1960     Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                           DATE
                         Figure S2.92.   Estimated monthly operating days for well HP-628 (old).



  S2.70           Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
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                                                                                              -   Total number of days in a month
                                                                                                  Operating days in a month
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                                                                                                   Prediction period
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                    Jan. 1940      Jan. 1950     Jan. 1960     Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
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                         Figure S2.93.   Estimated monthly operating days for well HP-629 (new).



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                                                                                              -    Prediction period



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                    Jan. 1940      Jan. 1950     Jan. 1960     Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                           DATE
                         Figure S2.94.   Estimated monthly operating days for well HP-629 (old).



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  Figures S2.55-S2.126. Estimated Monthly Operating Days for Hadnot Point Wells - - - - - - - - - - - - - - - -


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                                                                                             -    Prediction period



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                         Figure S2.95.   Estimated monthly operating days for well HP-630.



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                    Jan. 1940      Jan. 1950     Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
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                         Figure S2.96.   Estimated monthly operating days for well HP-631.



  S2.72           Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
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                                                                                             -   Total number of days in a month
                                                                                                 Operating days in a month
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                    Jan. 1940      Jan. 1950     Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                          DATE
                         Figure S2.97.   Estimated monthly operating days for well HP-632.



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                    Jan. 1940      Jan. 1950     Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                          DATE
                         Figure S2.98.   Estimated monthly operating days for well HP-633.



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  Figures S2.55-S2.126. Estimated Monthly Operating Days for Hadnot Point Wells - - - - - - - - - - - - - - - -


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                                                                                              -   Total number of days in a month
                                                                                                  Operating days in a month
                    35
                                                                                              -    Prediction period



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                    Jan. 1940      Jan. 1950      Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                           DATE
                         Figure S2.99.    Estimated monthly operating days for well HP-634.



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                                                                                                  Operating days in a month
                    35
                                                                                              -    Prediction period



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                            T'ffl'ffl'm'iii~iii~jjj'ffl'ryjj'ffl'
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                    Jan. 1940      Jan. 1950      Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                           DATE
                         Figure S2.100.    Estimated monthly operating days for well HP-635.



  S2.74           Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
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                                                                                              -   Total number of days in a month
                                                                                                  Operating days in a month
                    35
                                                                                              -    Prediction period



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                    Jan. 1940      Jan. 1950      Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                           DATE
                         Figure S2.101.    Estimated monthly operating days for well HP-636.




                                                                                                  Operating days in a month
                    35
                                                                                              -    Prediction period



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                            T'ffl'ffl'm'iii~iii~jjj'ffl'ryjj'ffl'
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                    Jan. 1940      Jan. 1950      Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                           DATE
                         Figure S2.102.    Estimated monthly operating days for well HP-637.



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  Figures S2.55-S2.126. Estimated Monthly Operating Days for Hadnot Point Wells - - - - - - - - - - - - - - - -




                                                                                             -   Total number of days in a month
                                                                                                 Operating days in a month
                    35
                                                                                             -    Prediction period



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                    Jan. 1940      Jan. 1950     Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                          DATE
                         Figure S2.103.   Estimated monthly operating days for well HP-638.




                                                                                                 Operating days in a month
                    35
                                                                                             -    Prediction period



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                            T'ffl'ffl'm'iii~iii~jjj'ffl'ryjj'ffl'
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                    Jan. 1940      Jan. 1950     Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                          DATE
                         Figure S2.104.   Estimated monthly operating days for well HP-639 (new).



  S2.76           Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
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                                                                                              -   Total number of days in a month
                                                                                                  Operating days in a month
                    35
                                                                                              -    Prediction period



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                    Jan. 1940      Jan. 1950      Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                           DATE
                         Figure S2.105.    Estimated monthly operating days for well HP-639 (old).



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                                                                                                  Operating days in a month
                    35
                                                                                              -    Prediction period
                                                                                              -    Training period

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                    Jan. 1940      Jan. 1950      Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                           DATE
                         Figure S2.106.    Estimated monthly operating days for well HP-640.



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  Figures S2.55-S2.126. Estimated Monthly Operating Days for Hadnot Point Wells - - - - - - - - - - - - - - - -


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                                                                                             -   Total number of days in a month
                                                                                                 Operating days in a month
                    35
                                                                                                  Prediction period
                                                                                             -    Training period

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                    Jan. 1940      Jan. 1950     Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                          DATE
                         Figure S2.107.   Estimated monthly operating days for well HP-641.



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                                                                                                 Operating days in a month
                    35
                                                                                             -    Prediction period
                                                                                             -    Training period

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                    Jan. 1940      Jan. 1950     Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                          DATE
                         Figure S2.108.   Estimated monthly operating days for well HP-642.



  S2.78           Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
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                                                                                              -   Total number of days in a month
                                                                                                  Operating days in a month
                    35
                                                                                              -    Prediction period



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                    Jan. 1940      Jan. 1950      Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                           DATE
                         Figure S2.109.    Estimated monthly operating days for well HP-651.



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                                                                                                  Operating days in a month
                    35
                                                                                              -    Prediction period
                                                                                              -    Training period

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                    Jan. 1940      Jan. 1950      Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                           DATE
                         Figure S2.110.    Estimated monthly operating days for well HP-652.



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  Figures S2.55-S2.126. Estimated Monthly Operating Days for Hadnot Point Wells - - - - - - - - - - - - - - - -


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                                                                                             -   Total number of days in a month
                                                                                                 Operating days in a month
                    35
                                                                                             -    Prediction period



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                    Jan. 1940      Jan. 1950     Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                          DATE
                         Figure S2.111.   Estimated monthly operating days for well HP-653.



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                                                                                                 Operating days in a month
                    35
                                                                                             -    Prediction period
                                                                                             -    Training period

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                    Jan. 1940      Jan. 1950     Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                          DATE
                         Figure S2.112.   Estimated monthly operating days for well HP-654.



  S2.80           Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
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    - - - - - - - - - - - - - - - Figures S2.55-S2.126. Estimated Monthly Operating Days for Hadnot Point Wells


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                                                                                              -   Total number of days in a month
                                                                                                  Operating days in a month
                    35
                                                                                              -    Prediction period



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                    Jan. 1940      Jan. 1950      Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                           DATE
                         Figure S2.113.    Estimated monthly operating days for well HP-655.



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                                                                                                  Operating days in a month
                    35
                                                                                              -    Prediction period



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                    Jan. 1940      Jan. 1950      Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                           DATE
                         Figure S2.114.    Estimated monthly operating days for well HP-660.



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  Figures S2.55-S2.126. Estimated Monthly Operating Days for Hadnot Point Wells - - - - - - - - - - - - - - - -


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                                                                                             -   Total number of days in a month
                                                                                                 Operating days in a month
                    35
                                                                                                  Prediction period
                                                                                             -    Training period

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                    Jan. 1940      Jan. 1950     Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                          DATE
                         Figure S2.115.   Estimated monthly operating days for well HP-661.



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                                                                                                 Operating days in a month
                    35
                                                                                             -    Prediction period
                                                                                             -    Training period

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                    Jan. 1940      Jan. 1950     Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                          DATE
                         Figure S2.116.   Estimated monthly operating days for well HP-662.



  S2.82           Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
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    - - - - - - - - - - - - - - - Figures S2.55-S2.126. Estimated Monthly Operating Days for Hadnot Point Wells


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                                                                                              -   Total number of days in a month
                                                                                                  Operating days in a month
                    35
                                                                                                   Prediction period
                                                                                              -    Training period

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                    Jan. 1940      Jan. 1950      Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                           DATE
                         Figure S2.117.    Estimated monthly operating days for well HP-663.



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                    Jan. 1940      Jan. 1950      Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                           DATE
                         Figure S2.118.    Estimated monthly operating days for well HP-709.



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  Figures S2.55-S2.126. Estimated Monthly Operating Days for Hadnot Point Wells - - - - - - - - - - - - - - - -


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                                                                                             -   Total number of days in a month
                                                                                                 Operating days in a month
                    35
                                                                                             -    Prediction period
                                                                                             -    Training period

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                    Jan. 1940      Jan. 1950     Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                          DATE
                         Figure S2.119.   Estimated monthly operating days for well HP-710.



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                                                                                                 Operating days in a month
                    35
                                                                                             -    Prediction period
                                                                                             -    Training period

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                    Jan. 1940      Jan. 1950     Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                          DATE
                         Figure S2.120.   Estimated monthly operating days for well HP-711.



  S2.84           Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
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    - - - - - - - - - - - - - - - Figures S2.55-S2.126. Estimated Monthly Operating Days for Hadnot Point Wells


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                                                                                              -   Total number of days in a month
                                                                                                  Operating days in a month
                    35
                                                                                                   Prediction period
                                                                                              -    Training period

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                    Jan. 1940      Jan. 1950      Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                           DATE
                         Figure S2.121.    Estimated monthly operating days for well HP-5186.



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                                                                                                  Operating days in a month
                    35
                                                                                              -    Prediction period



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                    Jan. 1940      Jan. 1950      Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                           DATE
                         Figure S2.122.    Estimated monthly operating days for well LCH-4006.



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  Figures S2.55-S2.126. Estimated Monthly Operating Days for Hadnot Point Wells - - - - - - - - - - - - - - - -


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                         ,..          I              I            I                  I                 I                  I             -
                         r                                                                                                              -
                         r                                                                   -   Total number of days in a month        -
                         r                                                                                                              -
                                                                                                 Operating days in a month
                    35   f-                                                                                                         -
                         r                                                                   -    Prediction period                     -
                         r                                                                   -    Training period                       -
                         r                                                                                                              -




                    25   f-




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              ~     20   f-

              c,         r
                         ,..                                                                                                            -
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                    Jan. 1940      Jan. 1950     Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                          DATE
                         Figure S2.123.   Estimated monthly operating days for well LCH-4007.



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                    Jan. 1940      Jan. 1950     Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                          DATE
                         Figure S2.124.   Estimated monthly operating days for well LCH-4009.



  S2.86           Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
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                                                                                              -   Total number of days in a month
                                                                                                  Operating days in a month
                    35
                                                                                              -    Prediction period



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                    Jan. 1940      Jan. 1950      Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                           DATE
                         Figure S2.125.    Estimated monthly operating days for well M-1.



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                    Jan. 1940      Jan. 1950      Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000    Jan. 2010
                                                                           DATE
                         Figure S2.126.    Estimated monthly operating days for well M-2.



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  S2.88        Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
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         Figures S2.127-S2.198. Estimated Monthly Water Volume Produced
         at Hadnot Point Wells


         For operational chronology of all water-supply wells see Figure S2.2 in text.

         Graphs showing estimated water volume produced at-
         S2.127.   Wei I HP-585 ..................................... S2.90    S2.163.   Well HP-628 (new) ......................... S2.108
         S2.128.   Wei I HP-595 ..................................... S2.90    S2.164.   Well HP-628 (old) ............................ S2.108
         S2.129.   Wei I HP-596 ..................................... S2.91    S2.165.   Well HP-629 (new) ......................... S2.109
         S2.130.   Well HP-601 ..................................... S2.91     S2.166.   Well HP-629 (old) ............................ S2.109
         S2.131.   Wei I HP-602 ..................................... S2.92    S2.167.   Well HP-630 ..................................... S2.110
         S2.132.   Well HP-603 ..................................... S2.92     S2.168.   Well HP-631 ..................................... 52.110
         S2.133.   Well HP-604..................................... S2.93      S2.169.   Well HP-632 ..................................... S2.111
         S2.134.   Well HP-605 ..................................... S2.93     S2.170.   Well HP-633 ..................................... S2.111
         S2.135.   Well HP-606 ..................................... S2.94     S2.171.   Well HP-634..................................... S2.112
         S2.136.   Well HP-607 (new) ......................... S2.94           S2.172.   Well HP-635 ..................................... S2.112
         S2.137.   Well HP-607 (old) ............................ S2.95        S2.173.   Well HP-636 ..................................... 52.113
         S2.138.   Well HP-608 ..................................... S2.95     S2.174.   Well HP-637 ..................................... S2.113
         S2.139.   Well HP-609 ..................................... S2.96     S2.175.   Well HP-638 ..................................... S2.114
         S2.140.   Well HP-610 ..................................... S2.96     S2.176.   Well HP-639 (new) ......................... S2.114
         S2.141.   Well HP-611 (new) ......................... S2.97           S2.177.   Well HP-639(old) ............................ S2.115
         S2.142.   Well HP-611 (old) ............................ S2.97        S2.178.   Well HP-640 ..................................... S2.115
         S2.143.   Well HP-612 (new) ......................... S2.98           S2.179.   Well HP-641 ..................................... S2.116
         S2.144.   Well HP-612 (old) ............................ S2.98        S2.180.   Well HP-642 ..................................... S2.116
         S2.145.   Well HP-613 ..................................... S2.99     S2.181.   Well HP-651 ..................................... S2.117
         S2.146.   Well HP-614 (new) ......................... S2.99           S2.182.   Well HP-652 ..................................... 52.117
         S2.147.   Well HP-614 (old) ............................ S2.100       S2.183.   Well HP-653 ..................................... S2.118
         S2.148.   Well HP-615 ..................................... S2.100    S2.184.   Well HP-654..................................... S2.118
         S2.149.   Well HP-616 ..................................... S2.101    S2.185.   Well HP-655 ..................................... 52.119
         S2.150.   Well HP-617 (old) ............................ S2.101       S2.186.   Well HP-660 ..................................... S2.119
         S2.151.   Well HP-618(old) ............................ S2.102        S2.187.   Well HP-661 ..................................... S2.120
         S2.152.   Well HP-619 (old) ............................ S2.102       S2.188.   Wei I HP-662 ..................................... S2.120
         S2.153.   Well HP-620 ..................................... S2.103    S2.189.   Well HP-663 ..................................... S2.121
         S2.154.   Well HP-621 (new) ......................... S2.103          S2.190.   Well HP-709 ..................................... S2.121
         S2.155.   Well HP-621 (old) ............................ S2.104       S2.191.   Well HP-710 ..................................... 52.122
         S2.156.   Well HP-622 ..................................... S2.104    S2.192.   Well HP-711 ..................................... S2.122
         S2.157.   Well HP-623 ..................................... S2.105    S2.193.   Well HP-5186 ................................... S2.123
         S2.158.   Wei I HP-624 ..................................... S2.105   S2.194.   Well LCH-4006 ................................. S2.123
         S2.159.   Well HP-625 ..................................... S2.106    S2.195.   Well LCH-4007 ................................. S2.124
         S2.160.   Well HP-626 ..................................... S2.106    S2.196.   Well LCH-4009 ................................. S2.124
         S2.161.   Well HP-627 (new) ......................... S2.107          S2.197.   Well M-1 .......................................... S2.125
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                                                                                              -   Maximum volume that can be
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                      25                                                                      -    Training period




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                           Figure S2.127.   Estimated monthly water volume produced at well HP-585.



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                      25                                                                      -    Training period




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                           Figure S2.128.   Estimated monthly water volume produced at well HP-595.



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                                                                                               -   Maximum volume that can be
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                           Figure S2.129.    Estimated monthly water volume produced at well HP-596.



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                      25                                                                       -     Prediction period




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                           Figure S2.130.    Estimated monthly water volume produced at well HP-601.



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  Figures S2.127-S2.198. Estimated Monthly Water Volume Produced at Hadnot Point Wells - - - - - - - - - - - - -


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                           Figure S2.131.   Estimated monthly water volume produced at well HP-602.



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                           Figure S2.132.   Estimated monthly water volume produced at well HP-603.



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                           Figure S2.133.    Estimated monthly water volume produced at well HP-604.



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                           Figure S2.134.    Estimated monthly water volume produced at well HP-605.



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                      Jan. 1940      Jan. 1950    Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000   Jan. 2010
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                           Figure S2.135.   Estimated monthly water volume produced at well HP-606.



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                      Jan. 1940      Jan. 1950    Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000   Jan. 2010
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                           Figure S2.136.   Estimated monthly water volume produced at well HP-607 (new).



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                           Figure S2.137.    Estimated monthly water volume produced at well HP-607 (old).



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                           Figure S2.138.    Estimated monthly water volume produced at well HP-608.



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  Figures S2.127-S2.198. Estimated Monthly Water Volume Produced at Hadnot Point Wells - - - - - - - - - - - - -


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                           Figure S2.139.   Estimated monthly water volume produced at well HP-609.



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                           Figure S2.140.   Estimated monthly water volume produced at well HP-610.



  S2.96           Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
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    - - - - - - - - - - - - Figures S2.127-S2.198. Estimated Monthly Water Volume Produced at Hadnot Point Wells


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                                                                                                -   Maximum volume that can be
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                           Figure S2.141.    Estimated monthly water volume produced at well HP-611 (new).



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                           Figure S2.142.    Estimated monthly water volume produced at well HP-611 (old).



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  Figures S2.127-S2.198. Estimated Monthly Water Volume Produced at Hadnot Point Wells - - - - - - - - - - - - -


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                           Figure S2.143.   Estimated monthly water volume produced at well HP-612 (new).



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                      25                                                                       -     Prediction period




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                           Figure S2.144.   Estimated monthly water volume produced at well HP-612 (old).



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                                                                                               -   Maximum volume that can be
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                           Figure S2.145.    Estimated monthly water volume produced at well HP-613.



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                           Figure S2.146.    Estimated monthly water volume produced at well HP-614 (new).



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                           Figure S2.147.   Estimated monthly water volume produced at well HP-614 (old).



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                           Figure S2.148.   Estimated monthly water volume produced at well HP-615.



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                           Figure S2.149.    Estimated monthly water volume produced at well HP-616.



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                           Figure S2.150.    Estimated monthly water volume produced at well HP-617 (old).



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                      25                                                                       -     Prediction period




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                           Figure S2.151.   Estimated monthly water volume produced at well HP-618 (old).



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                           Figure S2.152.   Estimated monthly water volume produced at well HP-619 (old).



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                      Jan. 1940      Jan. 1950     Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000   Jan. 2010
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                           Figure S2.153.    Estimated monthly water volume produced at well HP-620.



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                      Jan. 1940      Jan. 1950     Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000   Jan. 2010
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                           Figure S2.154.    Estimated monthly water volume produced at well HP-621 (new).



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                                                                                                         -       Maximum volume that can be
                                                                                                                   produced in a month
                                                                                                                 Flow produced in a month
                      25                                                                                 -         Prediction period




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                      Jan. 1940           Jan. 1950       Jan. 1960       Jan. 1970          Jan. 1980             Jan. 1990        Jan. 2000       Jan. 2010
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                              Figure S2.155.     Estimated monthly water volume produced at well HP-621 (old).




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                                                                                                                    Flow produced in a month
                              25                                                                                      Prediction period
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                              Figure S2.156.     Estimated monthly water volume produced at well HP-622.



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    - - - - - - - - - - - - Figures S2.127-S2.198. Estimated Monthly Water Volume Produced at Hadnot Point Wells


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                                                                                               -   Maximum volume that can be
                                                                                                     produced in a month
                                                                                                   Flow produced in a month
                      25                                                                             Prediction period
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                      Jan. 1940      Jan. 1950     Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990        Jan. 2000    Jan. 2010
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                           Figure S2.157.    Estimated monthly water volume produced at well HP-623.



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                      25                                                                       -     Prediction period




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                           Figure S2.158.    Estimated monthly water volume produced at well HP-624.



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  Figures S2.127-S2.198. Estimated Monthly Water Volume Produced at Hadnot Point Wells - - - - - - - - - - - - -


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                                                                                              -   Maximum volume that can be
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                      Jan. 1940      Jan. 1950    Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990        Jan. 2000    Jan. 2010
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                           Figure S2.159.   Estimated monthly water volume produced at well HP-625.



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                           Figure S2.160.   Estimated monthly water volume produced at well HP-626.



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                      Jan. 1940      Jan. 1950     Jan. 1960     Jan. 1970          Jan. 1980         Jan. 1990        Jan. 2000    Jan. 2010
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                           Figure S2.161.    Estimated monthly water volume produced at well HP-627 (new).



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                           Figure S2.162.    Estimated monthly water volume produced at well HP-627 (old).



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                           Figure S2.163.   Estimated monthly water volume produced at well HP-628 (new).



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                           Figure S2.164.   Estimated monthly water volume produced at well HP-628 (old).



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                           Figure S2.165.    Estimated monthly water volume produced at well HP-629 (new).



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                           Figure S2.166.    Estimated monthly water volume produced at well HP-629 (old).



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                           Figure S2.167.   Estimated monthly water volume produced at well HP-630.



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                      Jan. 1940      Jan. 1950    Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990        Jan. 2000    Jan. 2010
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                           Figure S2.168.   Estimated monthly water volume produced at well HP-631.



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                      Jan. 1940      Jan. 1950     Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000   Jan. 2010
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                           Figure S2.169.    Estimated monthly water volume produced at well HP-632.



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                           Figure S2.170.    Estimated monthly water volume produced at well HP-633.



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                           Figure S2.171.   Estimated monthly water volume produced at well HP-634.



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                                                                                                    produced in a month
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                           Figure S2.172.   Estimated monthly water volume produced at well HP-635.



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                           Figure S2.173.    Estimated monthly water volume produced at well HP-636.



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                      25                                                                       -     Prediction period




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                           Figure S2.174.    Estimated monthly water volume produced at well HP-637.



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                      Jan. 1940      Jan. 1950    Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990        Jan. 2000    Jan. 2010
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                           Figure S2.175.   Estimated monthly water volume produced at well HP-638.



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                      Jan. 1940      Jan. 1950    Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990        Jan. 2000    Jan. 2010
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                           Figure S2.176.   Estimated monthly water volume produced at well HP-639 (new).



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                      Jan. 1940      Jan. 1950     Jan. 1960     Jan. 1970          Jan. 1980         Jan. 1990        Jan. 2000    Jan. 2010
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                           Figure S2.177.    Estimated monthly water volume produced at well HP-639 (old).



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                           Figure S2.178.    Estimated monthly water volume produced at well HP-640.



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  Figures S2.127-S2.198. Estimated Monthly Water Volume Produced at Hadnot Point Wells - - - - - - - - - - - - -


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                      Jan. 1940      Jan. 1950    Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990          Jan. 2000   Jan. 2010
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                           Figure S2.179.   Estimated monthly water volume produced at well HP-641.



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                           Figure S2.180.   Estimated monthly water volume produced at well HP-642.



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                      Jan. 1940      Jan. 1950     Jan. 1960    Jan. 1970          Jan. 1980         Jan. 1990        Jan. 2000    Jan. 2010
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                           Figure S2.181.    Estimated monthly water volume produced at well HP-651.



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                           Figure S2.182.    Estimated monthly water volume produced at well HP-652.



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                           Figure S2.183.   Estimated monthly water volume produced at well HP-653.



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                           Figure S2.184.   Estimated monthly water volume produced at well HP-654.



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                           Figure S2.185.    Estimated monthly water volume produced at well HP-655.



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                           Figure S2.186.    Estimated monthly water volume produced at well HP-660.



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  Figures S2.127-S2.198. Estimated Monthly Water Volume Produced at Hadnot Point Wells - - - - - - - - - - - - -


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                           Figure S2.187.   Estimated monthly water volume produced at well HP-661.



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                           Figure S2.188.   Estimated monthly water volume produced at well HP-662.



  S2.120          Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
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                           Figure S2.189.    Estimated monthly water volume produced at well HP-663.



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                           Figure S2.190.    Estimated monthly water volume produced at well HP-709.



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  Figures S2.127-S2.198. Estimated Monthly Water Volume Produced at Hadnot Point Wells - - - - - - - - - - - - -


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                           Figure S2.191.   Estimated monthly water volume produced at well HP-710.



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                           Figure S2.192.   Estimated monthly water volume produced at well HP-711.



  S2.122          Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
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                           Figure S2.193.    Estimated monthly water volume produced at well HP-5186.



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                           Figure S2.194.    Estimated monthly water volume produced at well LCH-4006.



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  Figures S2.127-S2.198. Estimated Monthly Water Volume Produced at Hadnot Point Wells - - - - - - - - - - - - -


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                           Figure S2.195.   Estimated monthly water volume produced at well LCH-4007.



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                           Figure S2.196.   Estimated monthly water volume produced at well LCH-4009.



  S2.124          Historical Reconstruction of Drinking-Water Contamination Within the Service Areas of the Hadnot Point and
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                           Figure S2.197.    Estimated monthly water volume produced at well M-1.



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                           Figure S2.198.    Estimated monthly water volume produced at well M-2.



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